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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 IN RE:                                                          §        Chapter 11
                                                                 §
 Rooftop Group International Pte. Ltd., et al.1                  §        Case No. 19-43402-mxm
                                                                 §
                                                                 §
                                                                 §
          Debtors.                                               §        Jointly Administered

          DISCLOSURE STATEMENT FOR THE PLAN OF REORGANIZATION /
      LIQUIDATION OF ROOFTOP GROUP INTERNATIONAL PTE. LTD., ROOFTOP
      GROUP USA, INC. AND ROOFTOP GROUP SERVICES (US) INC. PURSUANT TO
       CHAPTER 11 OF THE BANKRUPTCY CODE PROPOSED BY THE OFFICIAL
           COMMITTEE OF UNSECURED CREDITORS OF ROOFTOP GROUP
           INTERNATIONAL PTE. LTD. AND THE CHAPTER 11 TRUSTEE OF
        ROOFTOP GROUP USA, INC. AND ROOFTOP GROUP SERVICES (US) INC.
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 509 N. Montclair Avenue
 Dallas, TX 75208-5498
 Telephone: 214-942-5502

 1
  The Debtors in these chapter 11 cases are, including the last four digits of their respective EIN numbers, as follows:
 Rooftop Group International Pte. Ltd. (no EID), Rooftop Group USA, Inc. (8810) and Rooftop Group Services (US),
 Inc. (3705). The mailing address for Rooftop International is 5218 Spruce Street, Bellaire, TX 77401, and the mailing
 address for the chapter 11 Trustee of Rooftop USA and Rooftop Services is 509 North Montclair Avenue, Dallas,
 Texas 75208-5498.
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 Facsimile: 214-946-7601
 Email: Corky@syllp.com
 CHAPTER 11 TRUSTEE, ROOFTOP GROUP USA, INC., Case No. 19-44234-mxm11,
 and ROOFTOP GROUP SERVICES (US) INC., Case No. 19-44235-mxm11

 Dated: June 3, 2020




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 I.     INTRODUCTION

        Rooftop Group International Pte. Ltd. (“Rooftop International”), a private limited
 company formed under the laws of Singapore, filed a voluntary petition seeking relief under
 Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Northern District
 of Texas on April 30, 2019. As of the Petition Date, ownership of Rooftop International was held
 by three entities: (i) Gandiva Investments Limited, holder of 69% of the equity; (ii) Asset
 Resolution Company SPC, holder of 30% of the equity; and (iii) Triumphant Gold Limited, holder
 of 1% of the equity. The Chapter 11 Case commenced thereby was originally pending before the
 Honorable Harlin D. Hale in the Dallas Division of the Northern District of Texas under Case No.
 19-31443-hdh11. On August 20, 2019, the Bankruptcy Court entered an Order transferring and
 reassigning the Chapter 11 Case to the Honorable Mark X. Mullin in the Fort Worth Division of
 the Northern District of Texas under Case No. 19-43402-mxm11. From and after the Petition
 Date, Rooftop International has continued to operate its business as a debtor-in-possession under
 11 U.S.C. §§ 1107 and 1108.

         Rooftop Group USA, Inc. (“Rooftop USA”), a California corporation 100% owned by
 Darren Matloff, filed a voluntary petition under Chapter 7 of the Bankruptcy Code in the United
 States Bankruptcy Court for the Northern District of Texas on August 25, 2019. The Rooftop USA
 Chapter 7 Case commenced was originally pending before the Honorable Harlin D. Hale in the
 Dallas Division of the Northern District of Texas under Case No. 19-38204-hdh7. On October 11,
 2019, the Bankruptcy Court entered an Order transferring and reassigning the Chapter 7 Case to
 the Honorable Mark X. Mullin in the Fort Worth Division of the Northern District of Texas under
 Case No. 19-44234-mxm7. On May 7, 2020, the Bankruptcy Court entered an Order converting
 the Chapter 7 Case to a Case under Chapter 11 and directing the Office of the United States Trustee
 to appoint a Chapter 11 Trustee. On May 12, 2020, the Office of the United States Trustee
 appointed Daniel J. Sherman as the Chapter 11 Trustee.

         Rooftop Group Services (US) Inc. (“Rooftop Services”), a New Hampshire corporation
 100% owned by Rooftop International, filed a voluntary petition under Chapter 7 of the
 Bankruptcy Code in the United States Bankruptcy Court for the Northern District of Texas on
 August 25, 2019. The Rooftop Services Chapter 7 Case commenced was originally pending before
 the Honorable Stacey G. Jernigan in the Dallas Division of the Northern District of Texas under
 Case No. 19-32805-sgj7. On October 11, 2019, the Bankruptcy Court entered an Order
 transferring and reassigning the Chapter 7 Case to the Honorable Mark X. Mullin in the Fort Worth
 Division of the Northern District of Texas under Case No. 19-44235-mxm7. On May 7, 2020, the
 Bankruptcy Court entered an Order converting the Chapter 7 Case to a Case under Chapter 11 and
 directing the Office of the United States Trustee to appoint a Chapter 11 Trustee. On May 12,
 2020, the Office of the United States Trustee appointed Daniel J. Sherman as the Chapter 11
 Trustee.

        Rooftop International, Rooftop USA and Rooftop Services are collectively referred to as
 the “Debtors.”

          This Disclosure Statement is provided pursuant to Section 1125 of the Bankruptcy Code to
 all of the Debtors’ known creditors, Interest holders and other parties in interest in connection with
 the solicitation of acceptances of the Plan of Reorganization/Liquidation of Rooftop Group

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 International Pte. Ltd., Rooftop Group USA, Inc. and Rooftop Group Services (US) Inc.
 pursuant to Chapter 11 of the Bankruptcy Code Proposed by the Official Committee of Unsecured
 Creditors of Rooftop International and the Chapter 11 Trustee for Rooftop USA and Rooftop
 Services which has been filed with the Bankruptcy Court.

         On February 16, 2020, the Committee2 filed its First Amended Plan of
 Reorganization/Liquidation of Rooftop International Pte. Ltd. Pursuant to Chapter 11 of the
 Bankruptcy Code Proposed by the Official Committee of Unsecured Creditors [Docket No. 177 in
 the Rooftop International case] (the “Original Plan”), as well as its Disclosure Statement in support
 of the Original Plan [Docket No. 178 in the Rooftop International case]. On February 25, 2020,
 the Court entered its Order (i) Approving Disclosure Statement, (II) Approving the Procedures to
 Solicit Acceptances of the Plan of Reorganization/Liquidation, and (III) Scheduling a Hearing and
 Establishing Notices and Objection Procedures for Confirmation of the Plan of
 Reorganization/Liquidation [Docket No. 181 in the Rooftop International case].

         The Committee solicited its Original Plan, and all creditors in both impaired classes eligible
 to vote submitting ballots (collectively holding greater than $35 million in claims) unanimously
 voted in favor of the Original Plan [see Ballot Certification at Docket No. 198 in the Rooftop
 International case]. The deadline for voting and objecting to the Original Plan was April 13, 2020,
 and no parties objected or otherwise responded to the Original Plan. The confirmation hearing for
 the Committee’s Original Plan was originally scheduled for April 20, 2020 at 1:30 pm, CT in the
 Rooftop International case, however, on account of the outbreak of novel coronavirus, which
 causes the disease designated as COVID-19 (see General Order 2020-05, Court Operations Under
 Exigent Circumstances Created by the COVID-19 Pandemic), the confirmation hearing was
 continued to June 16, 2020 at 1:30 pm, CT. The Committee and Trustee anticipate that the
 confirmation hearing on the Plan shall be scheduled at a later date after June 16, 2020.

          The Plan contemplates substantive consolidation of the Debtors for the purposes of voting,
 allowance of claims, and distributions to holders of Allowed Claims. The purpose of this Disclosure
 Statement is to provide such information as will enable a hypothetical, reasonable investor typical
 of the holders of Claims or Interests to make an informed judgment in exercising his, her or its
 right either to accept or reject the Plan. A copy of the Plan is attached to this Disclosure Statement
 and is incorporated herein by this reference as Exhibit “A”.

       FOR THE REASONS SET FORTH HEREIN, THE OFFICIAL COMMITTEE OF
 UNSECURED CREDITORS AND TRUSTEE RECOMMEND THAT HOLDERS OF
 CLAIMS WHO ARE ENTITLED TO VOTE ON THE PLAN VOTE TO ACCEPT THE
 PLAN.

         Your acceptance of the Plan is important. In order for the Plan to be deemed “accepted” by
 creditors, at least sixty six and two-thirds percent (66 2/3%) in amount of Allowed Claims and a
 majority in number of Allowed Claims voting in each class of Claims must accept the Plan. As set
 forth in Section 4.5 of the Plan, all Interests will be deemed cancelled as of the Effective Date, and
 Holders of Interests will receive no distributions under the Plan. Accordingly, Holders of Interests

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  Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in Article I
 of the Plan.


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 are deemed to reject the Plan and are not entitled to vote. Whether or not you expect to be present
 at the hearing to consider confirmation of the Plan, you are urged to fill in, date, sign and properly
 mail the ballot accompanying the Plan and this Disclosure Statement to James E. Van Horn, Esq.,
 Barnes & Thornburg, LLP, 1717 Pennsylvania Avenue, N.W., Suite 500, Washington, D.C.
 20006-4623; or via e-mail at jvanhorn@btlaw.com. For your vote to count, your ballot must be
 received by Mr. Van Horn prior to the date and time shown thereon.

      NO REPRESENTATIONS CONCERNING THE DEBTORS ARE AUTHORIZED
 BY THE COMMITTEE OR THE TRUSTEE OTHER THAN THOSE SET FORTH IN
 THIS DISCLOSURE STATEMENT. ANY REPRESENTATION OR INDUCEMENT
 MADE TO SECURE YOUR ACCEPTANCE OR REJECTION OF THE PLAN WHICH IS
 NOT CONTAINED IN THIS DISCLOSURE STATEMENT SHOULD NOT BE RELIED
 UPON BY YOU IN REACHING YOUR DECISION ON HOW TO VOTE ON THE PLAN.

      THE COMMITTEE AND TRUSTEE DO NOT WARRANT OR REPRESENT
 THAT THE INFORMATION CONTAINED HEREIN IS ACCURATE, ALTHOUGH
 GREAT EFFORT HAS BEEN MADE TO BE ACCURATE. THIS DISCLOSURE
 STATEMENT CONTAINS ONLY A SUMMARY OF THE PLAN. THE PLAN WHICH
 ACCOMPANIES THIS DISCLOSURE STATEMENT IS AN INTEGRAL PART OF THE
 DISCLOSURE STATEMENT, AND EACH CREDITOR IS URGED TO REVIEW THE
 PLAN PRIOR TO VOTING ON IT.

 II.    DEFINITIONS

          Unless otherwise indicated, by context or otherwise, undefined capitalized terms appearing
 in this Disclosure Statement shall have the meanings ascribed to them under Article I (Definitions),
 Section 1.1 through 1.84 of the Plan. See Exhibit “A” attached hereto.

 III.   EVENTS LEADING TO BANKRUPTCY FILINGS

         Rooftop International’s business historically consisted of consumer friendly remote-
 controlled quadcopters, helicopters, and drones. Many of the products incorporated proprietary
 intellectual property manifesting in advanced technological features such as laser battling and
 built-in in HD cameras. The products appealed to adults and hobbyists, in addition to toy
 customers, and its product suite generally sold for less than $200 thereby offering affordable
 quality and performance. The products were sold almost entirely under the trademarked Propel
 RC® brand.

        In January 2015, Rooftop International acquired the Propel business previously owned by
 Asian Express Holdings Ltd., using Rooftop Group USA, Inc. as its agent for domestic U.S. sales.
 Rooftop International is the parent company with 100% ownership of the following subsidiary
 companies reflected in the chart below.




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          Rooftop Group Services (US), Inc. is the agent for Rooftop International’s North American
  sales. Rooftop Group USA, Inc. is an agent of Rooftop Group Services (US), Inc. Customer
  purchase orders were made with Rooftop Group USA, Inc. who processed orders on behalf of
  Rooftop Group Services (US), Inc. Asian Express Holdings Ltd. is an agent of Rooftop
  International. Customer purchase orders were made with Asian Express Holdings Ltd. who
  processed orders on behalf of Rooftop International. Since its formation, Rooftop International
  customarily and routinely represented itself and all of its subsidiaries as one enterprise to potential
  investors, lenders and the marketplace.

         Rooftop International and its subsidiaries (collectively, the “Rooftop Companies”)
  experienced highly profitable growth from 2015-2017:

          In 2015, Rooftop Companies had $42.4 million in gross sales and $8.1 million in
  EBITDA. The gross sales amount of $42.4 million was reported in Rooftop Companies’ audited
  financial statements for 2015 and was also reported by Rooftop Companies in their October 2017
  Offering Memorandum. EBITDA of $8.1 million was reported by Rooftop Companies in the
  October 2017 Offering Memorandum.

         In 2016, Rooftop Companies’ gross sales nearly doubled to $81.6 million with EBITDA
  of $17.9 million including management adjustments of $9.8 million for non-recurring expenses.
  The gross sales amount of $81.6 million was reported in Rooftop Companies’ audited financial
  statements for 2016 and was also reported by Rooftop Companies in the October 2017 Offering
  Memorandum and in their January 2018 Investor Presentation. EBITDA of $17.9 million was
  reported by Rooftop Companies in the October 2017 Offering Memorandum, and was reported as
  $8.2 million in the January 2018 Investor Presentation. Rooftop Companies’ audited financial
  statements for 2016 also reported $97.2 million of total assets, of which $92.2 million were
  current assets, including $2.0 million in cash, $25.2 million of accounts receivable, $43.8 million
  of inventory, and $21.2 million of other current assets.


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           In 2017, Rooftop Companies’ gross sales once again nearly doubled year-over-year to
  $149.6 million. This was the gross sales amount Rooftop Companies reported in the January 2018
  Investor Presentation, which followed Rooftop Companies’ expectation of $160.9 million in gross
  sales it projected in the October 2017 Offering Memorandum.

          In the October 2017 Offering Memorandum, Rooftop Companies projected the following
  gross sales and EBITDA for 2018 – 2022:

                                Gross Sales             EBITDA
               2018             $191.2 million          $26.1 million
               2019             $262.1 million          $46.8 million
               2020             $327.6 million          $65.6 million
               2021             $360.3 million          $74.1 million
               2022             $378.4 million          $77.8 million

          In the October 2017 Offering Memorandum, Rooftop Companies reported $128.3 million
  in total assets as of October 31, 2017, of which $121.0 million were current assets including
  $23.3 million in cash, $33.6 million of accounts receivables, $41.1 million of inventory, and $23.0
  million of other current assets.

          In 2015, Rooftop Companies obtained a licensing arrangement with Warner Brothers to
  create and sell a Batman themed flying toy drone, which was shortly followed by the award of a
  similar arrangement with Disney’s Star Wars franchise beginning in 2016.

         To finance the anticipated increase in production for these new products, throughout 2016
  Rooftop International obtained various secured and unsecured loans totaling more than $50 million
  from (i) Polar Ventures Overseas Limited ($15.9 million); (ii) Triumphant Gold Limited ($10
  million); (iii) UOC SPV1 Pte. Ltd. ($20 million); and (iv) Begaline Ltd. ($6 million).

          According to Rooftop International [Docket No. 36 in the Rooftop International case],
  financial distress began in late 2016 when the launch of the Star Wars drones was postponed until
  September 2017, and the resulting delay in fulling 2016 purchase orders and sales caused
  significant liquidity issues. Between June – August 2017, Polar Ventures Overseas Limited loaned
  Rooftop International an additional $9.75 million, and Triumphant Gold Limited loaned Rooftop
  International an additional $11.25 million.

          When the Star Wars drones did finally launch in stores in September 2017, sales were
  significantly lower than anticipated. During this time Rooftop Group USA, Inc.’s inventory
  purchases were factored through a purchase order financing arrangement with Star Funding, Inc.,
  which would pay suppliers directly for manufactured product, take ownership of the inventory and
  collect the proceeds from fulfilled purchase orders. After retaining its costs and commissions, Star
  Funding, Inc. would remit the balance to Rooftop Group USA, Inc. which used the funds to repay
  suppliers, employees and other trade vendors. According to Rooftop International [Docket No.
  36 in the Rooftop International case], as gross receipts from sales continued to decline, suppliers
  began requiring Star Funding, Inc. to repay portions of old debts as a condition of fulfilling new


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  purchase orders, and this resulted in wiping out nearly all of the remaining liquidity of both
  Rooftop International and Rooftop Group USA, Inc.

          On February 14, 2019, Rooftop International entered into a nonexclusive license agreement
  with Amax Industrial Group China Co, Ltd to use certain of its trademarks to manufacture Propel-
  RC-branded drones. Rooftop International receives a royalty rate of 3.5% and estimates that this
  license agreement will generate $0.8 to $1.2 million in royalty revenue annually. This implies
  annual sales revenue ranging from $22.9 million to $34.3 million.

         Rooftop International alleged that, as of its Petition Date, it effectively has no other current
  operations or employees, and as of the Petition Date its assets consisted of intellectual property, a
  small amount of inventory in warehouses located in Dallas, TX, Seattle, WA, and Vancouver, B.C.

          On June 20, 2018, in an effort to defend against certain legal collection efforts in Singapore
  that had been commenced by Triumphant Gold Limited against Rooftop International, certain
  Rooftop International affiliates and Darren Matloff, Rooftop International instituted a Singapore
  arbitration matter in the Singapore International Arbitration Centre wherein Rooftop International
  alleged that certain loan agreements with Triumphant Gold Limited were procured under economic
  distress and that the debt service was usurious. This Singapore arbitration matter stayed certain
  of Triumphant Gold Limited’s legal collection efforts against Rooftop International, its affiliates
  and Mr. Matloff.

          On April 22, 2019, an arbitration award was entered against Rooftop International wherein
  the arbitrator determined that Rooftop International’s claims should be dismissed and validated
  the terms of Triumphant Gold Limited’s loans to Rooftop International. As a result of this
  arbitration award, certain of Triumphant Gold Limited’s legal collection efforts against Rooftop
  International, certain of its affiliates and Mr. Matloff, were no longer stayed.

         Eight (8) days after the arbitration award was entered against Rooftop International, on
  April 30, 2019, Rooftop International filed a voluntary petition for Chapter 11 under the
  Bankruptcy Code. Rooftop International’s stated reasons for filing the Rooftop International
  Chapter 11 Case was to receive the benefit of the automatic stay and the “breathing spell” from
  various legal actions certain creditors had commenced, and to preserve the remaining business for
  the benefit of creditors [Docket No. 36 in the Rooftop International case].

          Based on Rooftop International's post-bankruptcy assertion of the separateness of Rooftop
  USA and Rooftop Services' assets from its own, the Bankruptcy Court confirmed after an August
  16, 2019 hearing that the automatic stay did not apply to prevent creditor action against Rooftop
  USA, Rooftop Services, or any other non-debtor affiliates of Rooftop International. In a stated
  effort to protect and preserve the assets of Rooftop USA and Services from further dissipation,
  creditor Triumphant Gold Limited instituted an action in Texas state court when it filed its Original
  Petition and Application for Temporary Restraining Order, Cause No. DC-19-12093, on August
  19, 2019 in the 101st Judicial District for Dallas County (the "State Court Action"). On the same
  date, a Temporary Restraining Order was issued in the State Court Action to protect the assets of
  Rooftop USA and Services. Following the service of initial discovery requests in the State Court




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  Action, on August 25, 2019, Rooftop USA and Rooftop Services each filed voluntary petitions
  under chapter 7 of the United States Bankruptcy Code.

          On April 30, 2020, the Committee and Chapter 7 Trustee for both Rooftop Services and
  Rooftop USA filed a Joint Motion to Convert Rooftop Services [Docket Nos. 41, 42] and Rooftop
  USA [Docket Nos. 52, 53] cases to Chapter 11, and for the Appointment of a Chapter 11 Trustee
  in both cases. By Order entered May 7, 2020, the Bankruptcy Court granted the Joint Motion and
  entered an Order converting Rooftop Services [Docket Nos. 45, 46] and Rooftop USA [Docket
  Nos. 56, 57] to cases under Chapter 11 and directing the Office of the United States Trustee to
  appoint a Chapter 11 Trustee. On May 12, 2020, the Office of the United States Trustee appointed
  Daniel J. Sherman as the Chapter 11 Trustee in both Rooftop Services [Docket No. 50] and
  Rooftop USA [Docket No. 60] cases.

         Notwithstanding the fact that Rooftop Companies (i) projected gross sales of $160.9
  million in 2017 in the October 2017 Offering Memorandum, and (ii) disclosed $149.6 million in
  expected 2017 gross sales in the January 2018 Investor Presentation, Rooftop International
  reported gross revenue in 2017 of only $31.9 million in its Statement of Financial Affairs
  [Docket No. 37 in the Rooftop International case]; Rooftop USA reported gross revenue in 2017
  of only $12.2 million in its Statement of Financial Affairs [Docket No. 18 in the Rooftop USA
  case]; and Rooftop Services reported gross revenue in 2017 of only $680,366 in its Statement
  of Financial Affairs [Docket No. 16 in the Rooftop Services case].

         Rooftop International further reported in its Statement of Financial Affairs gross revenue
  in 2018 of only $240,663, and gross revenue from January 1, 2019 through April 30, 2019 of
  $49,963. Rooftop USA reported in its Statement of Financial Affairs gross revenue in 2018 of
  only $10.2 million, and gross revenue from January 1, 2019 through August 25, 2019 of $3.6
  million. Rooftop Services reported in its Statement of Financial Affairs gross revenue in 2018
  of only $236,363, and gross revenue from January 1, 2019 through August 25, 2019 of only
  $281,091.

          Rooftop International also reported in its Schedules of Assets and Liabilities assets
  consisting of $7,065.71 in cash and an unknown value attributable to its ownership of
  subsidiaries and its intellectual property as of the Petition Date, only 18 months after Rooftop
  Companies reporting $128.3 million in total assets. Rooftop USA reported in its Schedules of
  Assets and Liabilities assets consisting only of $147,357 in cash; and Rooftop Services reported
  in its Schedules of Assets and Liabilities assets consisting only of $85,000 in cash.

          The Committee believes that other factors may have contributed to the Debtors having to
  file their bankruptcy cases beyond those factors the Debtors have alleged. The Committee has
  commenced an investigation to identify and assess these factors, as well as what related and other
  viable Causes of Action exist, including, but not limited to, preferential and fraudulent transfers,
  which would constitute additional assets of the Debtors’ bankruptcy Estates and additional sources
  of recovery for creditors.




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  IV.    THE BANKRUPTCY CASES AND RELATED PROCEEDINGS

          Rooftop International: Since the Petition Date, Rooftop International has continued in
  possession of its property and operated as a debtor in possession pursuant to 11 U.S.C. §§ 1107(a)
  & 1108. The following is a summary of significant events in Rooftop International’s bankruptcy
  case leading to the filing of the Plan.

         A.      Appointment of Creditors’ Committee and Committee Professionals

          On June 13, 2019 the Office of the United States Trustee filed its Appointment of the
  Official Unsecured Creditors’ Committee [Docket No. 24] thereby appointing the Committee in
  the Chapter 11 Case. On September 27, 2019 the United States Trustee filed its Second Amended
  Appointment of the Official Unsecured Creditors’ Committee [Docket No. 117], appointing the
  five members who comprise the Committee in its current form: Brian Dlugash, PICA Australia
  Pty., Ltd., Begaline Limited, Polar Ventures Overseas Limited, and Chiat Thian Chew.

         On September 4, 2019, the Committee filed the Application for Entry of an Order
  Authorizing the Retention and Employment of Barnes & Thornburg LLP as Co-Counsel to the
  Committee Effective as of August 15, 2019 [Docket No. 103]. By Order entered October 2, 2019,
  the Bankruptcy Court authorized the Committee to retain and employ Barnes & Thornburg LLP
  as co-counsel [Docket No. 120]. Contact information for the Committee’s co-counsel is as
  follows:

         James E. Van Horn
         BARNES & THORNBURG LLP
         1717 Pennsylvania Avenue NW, Suite 500
         Washington, D.C. 20006-4623
         Telephone: 202-371-6351
         Facsimile: 202-289-1330
         Email: jvanhorn@btlaw.com

         On September 4, 2019, the Committee filed the Application to Employ Ross & Smith, PC
  as Co-Counsel for the Committee Effective as of August 15, 2019 [Docket No. 102]. By Order
  entered October 2, 2019, the Bankruptcy Court authorized the Committee to employ Ross & Smith,
  PC as co-counsel. Contact information for the Committee’s co-counsel is as follows:

         Judith W. Ross
         State Bar No. 21010670
         Rachael L. Smiley
         State Bar No. 24066158
         ROSS & SMITH, PC
         700 North Pearl Street, Suite 1610
         Dallas, Texas 75201
         Telephone: 214-377-7879
         Facsimile: 214-377-9409
         Email: judith.ross@judithwross.com
                 rachael.smiley@judithwross.com


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          On December 5, 2019, the Committee filed the Application to Employ KRyS Global USA,
  Inc. as Financial Advisor for the Committee Effective as of November 26, 2019 (the “KRyS Global
  Application”) [Docket No. 146]. On December 26, 2019, the Debtor filed a response opposing
  the KRyS Global Application [Docket No. 152]. On January 16, 2020, the Bankruptcy Court
  entered an Order Granting the KRyS Global Application [Docket No. 166].

          B.      Debtor’s Engagement of Professionals

         On May 29, 2019, Rooftop International filed the Application for Authorization to Employ
  and Compensate Reed Smith LLP as Bankruptcy Counsel for the Debtor [Docket No. 20]. By
  Order entered July 22, 2019, the Bankruptcy Court authorized Rooftop International to employ
  and compensate Reed Smith LLP as bankruptcy counsel [Docket No. 55]. On January 8, 2020,
  Michael P. Cooley of Reed Smith filed a Supplemental Declaration disclosing that on or about
  January 2, 2020, Reed Smith agreed to undertake a limited representation of Darren Matloff in
  connection with the objections to his discharge and certain exemptions asserted in the adversary
  proceeding styled Triumphant Gold Limited v. Darren Scott Matloff, Adv. No. 19-04127, and that
  Reed Smith does not otherwise represent Mr. Matloff in his chapter 7 case or in any other matter
  [Docket No. 157]. Contact information for Rooftop International’s counsel is as follows:

          Michael P. Cooley (SBN 24034388)
          Lindsey L. Robin (SBN 24091422)
          REED SMITH LLP
          2501 N. Hardwood Street, Suite 1700
          Dallas, Texas 75201
          T: 469.680.4200
          F: 469.680.4299
          mpcooley@reedsmith.com
          lrobin@reedsmith.com

          C.      Rooftop International’s Proposed Sale of Assets

          On July 3, 2019 [Docket No. 44], the Rooftop International filed a Motion for an Order (a)
  Authorizing a Public Auction for the Sale of Certain Assets Free and Clear of All Liens, Claims
  and Encumbrances, (b) Approving Procedures for the Solicitation of Bids; (c) Approving the
  Stalking Horse Bid and Related Bid Protections; (d) Authorizing the Sale of Assets; and (e)
  Granting Related Relief (the “Sale Motion”), pursuant to which Rooftop International sought to
  sell by auction substantially all its assets, principally including all of Rooftop International’s
  patents, trademarks, and other intellectual property and related licenses or other executory
  contracts and unexpired leases. On July 30, 2019 [Docket No. 67], the Committee filed a letter
  with the Bankruptcy Court supporting Rooftop International’s proposed bid procedures but
  expressing concern that the stalking horse bid was very low, and stating the Committee’s belief
  that it may be possible for Rooftop International to generate a greater recovery for unsecured
  creditors by licensing its intellectual property rather than selling it, and reserving all rights to take
  a position for or against any sale that may be proposed. The hearing on the Sale Motion scheduled
  for August 1, 2019 was continued to September 16, 2019.



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          On September 13, 2019 [Docket No. 109], the Committee filed an Objection to the Sale
  Motion, on the grounds, among other reasons, that it was highly unlikely, if not impossible, for t
  Rooftop International to reorganize as a going concern if substantially all of its assets were sold;
  as well as various issues and concerns surrounding Rooftop International’s proposed stalking horse
  bidder, Fortune 8, including, but not limited to, numerous loans, payments and business transaction
  by and among Fortune 8, Rooftop International, Rooftop International’s principal Darren Matloff
  and certain debtor affiliates. The hearing on the Sale Motion scheduled for September 16, 2019
  was continued to October 23, 2019.

          On October 18, 2019 [Docket No. 129], the Committee filed a Supplemental Objection to
  the Sale Motion, which included as an exhibit a draft Plan term sheet prepared by the Committee.
  The hearing on the Sale Motion scheduled for October 23, 2019 was continued to a later date to
  be determined, and no hearing on the Sale Motion is currently scheduled.

         D.      Plan Exclusivity Period

          Pursuant to 11 U.S.C. § 1121(b), Rooftop International had the exclusive right after the
  Petition Date to file a plan of reorganization for an initial 120-day period ending August 28, 2019.
  On August 6, 2019 [Docket No. 73], Rooftop International filed the Motion to Extend Time to File
  a Chapter 11 Plan (“First Exclusivity Motion”), pursuant to which Rooftop International sought to
  extend the exclusive period for it to file a plan to November 26, 2019. The Committee did not
  object to the extension requested by Rooftop International in the First Exclusivity Motion. On
  September 5, 2019, the Bankruptcy Court entered the Order granting the First Exclusivity Motion
  [Docket No. 106].

          On November 5, 2019 [Docket No. 136], Rooftop International filed the Second Motion to
  Extend Time to File a Chapter 11 Plan (“Second Exclusivity Motion”) pursuant to which Rooftop
  International sought to further extend the exclusive period for it to file a plan to January 20, 2020.
  On November 22, 2019, the Committee filed an objection to the extension requested by Rooftop
  International in the Second Exclusivity Motion [Docket No. 142]. On November 26, 2019, the
  Bankruptcy Court held a hearing on the Second Exclusivity Motion, and on December 3, 2019,
  the Bankruptcy Court entered the Order Denying the Second Exclusivity Motion [Docket No. 145].

         E.      Committee’s Rule 2004 Motion

          On December 18, 2019 [Docket No. 148], the Committee filed the Motion Pursuant to
  Bankruptcy Rule 2004 for an Order Authorizing and Directing Examination of, and Production of
  Documents from Rooftop International (the “Rule 2004 Motion”). On January 7, 2020, Rooftop
  International filed a response opposing the Rule 2004 Motion [Docket No. 156]. On January 16,
  2020, the Bankruptcy Court entered an Order Granting the Rule 2004 Motion [Docket No. 167].

         F.      Original Plan

         On February 16, 2020, the Committee filed its First Amended Plan of Reorganization /
  Liquidation of Rooftop International Pte. Ltd. Pursuant to Chapter 11 of the Bankruptcy Code
  Proposed by the Official Committee of Unsecured Creditors [Docket No. 177] and its Disclosure
  Statement in support of the Plan [Docket No. 178].


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          On February 25, 2020, the Court entered its Order (i) Approving Disclosure Statement, (II)
  Approving the Procedures to Solicit Acceptances of the Plan of Reorganization/Liquidation, and
  (III) Scheduling a Hearing and Establishing Notices and Objection Procedures for Confirmation
  of the Plan of Reorganization/Liquidation [Docket No. 181].

          The Committee solicited its Original Plan, and all creditors in both impaired classes eligible
  to vote submitting ballots (collectively holding greater than $35 million in claims) unanimously
  voted in favor of the Original Plan [see Ballot Certification at Docket No. 198]. The deadline for
  voting and objecting to the Original Plan was April 13, 2020, and no parties objected or otherwise
  responded to the Original Plan. The confirmation hearing was originally scheduled for April 20,
  2020 at 1:30 pm, CT in the Rooftop International case, however, on account of the outbreak of
  novel coronavirus, which causes the disease designated as COVID-19 (see General Order 2020-
  05, Court Operations Under Exigent Circumstances Created by the COVID-19 Pandemic), the
  confirmation hearing was continued to June 16, 2020 at 1:30 pm, CT.

         G.      Other Chapter 11 Matters

               1.     On June 14, 2019 [Docket Nos. 26, 27], Triumphant Gold Limited filed a
  Motion to Dismiss Bankruptcy Filing, or alternatively to Lift the Automatic Stay (the “Motion to
  Dismiss”). On July 30, 2019 [Docket No. 67], the Committee filed a letter with the Bankruptcy
  Court opposing the Motion to Dismiss. On August 19, 2019, the Bankruptcy Court entered an
  Order Denying the Motion to Dismiss [Docket No. 95].

                2.     On July 10, 2019 [Docket No. 47], Triumphant Gold Limited filed a Motion
  for Order Declaring Automatic Stay Applies to Debtor Property under Affiliate Control (“Motion
  for Automatic Stay”). On August 19, 2019, the Bankruptcy Court entered an Order Denying the
  Motion for Automatic Stay [Docket No. 96].

                  3.      On June 18, 2019, Rooftop International filed an application with the
  Singapore Court for recognition of the Chapter 11 Case as a foreign main proceeding under
  Singapore law. On December 3, 2019, the Singapore Court issued a Judgment finding, among
  other things, that Rooftop International’s Center of Main Interest is in Singapore and not the United
  States, and ordering (i) a moratorium on the commencement of proceedings against Rooftop
  International; (ii) no resolution may be passed over the winding up of Rooftop International; and
  (iii) no proceedings may be commenced against any property of Rooftop International; with the
  exception that (x) the moratorium does not apply to Triumphant Gold Limited’s enforcement of
  its share charge against Rooftop International; and (y) the stay of proceedings does not apply to
  Triumphant Gold Limited’s of guarantees from Asian Express Holdings Ltd. and Gandiva
  Investments Ltd for loans made to Rooftop International.

         Rooftop USA and Rooftop Services: The following is a summary of significant events
  in Rooftop USA’s and Rooftop Services’ bankruptcy cases leading to the filing of the Plan.

         H.      Rooftop USA Sale




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         On October 25, 2019, the Rooftop USA Chapter 7 Trustee filed a motion to sell certain
  inventory of drones and related equipment located in warehouses in Irving, Texas; Seattle,
  Washington and Vancouver, British Columbia, Canada [Docket No. 32 in the Rooftop USA case].
  On November 13, 2019, the Bankruptcy Court entered an Order granting the Trustee’s sale motion
  [Docket No. 39].

          The Chapter 7 Trustee for both Rooftop Services and Rooftop USA has undertaken to
  collect the books and records of the Rooftop USA and Rooftop Services debtors, as well as
  investigate potential assets, including remaining accounts receivable that may be due and owing
  to the Debtors.

         On January 15, 2020, creditor Triumphant Gold Limited filed its Unopposed Motions for
  Distribution of Property Pursuant to Bankruptcy Rule 6007 in the Rooftop USA and Rooftop
  Services cases based on its alleged secured claim to proceeds from accounts receivable. On
  February 14, 2020, the Court granted the Motions (which Order was later amended to reflect
  updated amounts received into the bankruptcy estates).

         I.     Trustee’s Engagement of Professionals

         On September 17, 2019, the Rooftop Services Chapter 7 Trustee Daniel J. Sherman filed
  an application to retain Daniel J. Sherman and the Law Office of Sherman & Yaquinto, LLP as his
  counsel [Docket No. 13 in the Rooftop Services case]. By Order entered October 11, 2019, the
  Bankruptcy Court approved the application [Docket No. 23 in the Rooftop Services case].

         On October 30, 2019, the Rooftop USA Chapter 7 Trustee Daniel J. Sherman filed an
  application to retain Daniel J. Sherman and the Law Office of Sherman & Yaquinto, LLP as his
  counsel [Docket No. 36 in the Rooftop USA case]. By Order entered November 25, 2019, the
  Bankruptcy Court approved the application [Docket No. 41 in the Rooftop USA case].

         On January 9, 2020, the Chapter 7 Trustee filed an application to retain Sheldon Levy,
  CPA as Accountant in both Rooftop Services [Docket No. 30] and Rooftop USA [Docket No. 42]
  cases. By Order entered February 3, 2020, the Bankruptcy Court approved the application in both
  Rooftop Services [Docket No. 35] and Rooftop USA [Docket No. 46] cases.

         J.     Chapter 11 Conversion and Appointment of Chapter 11 Trustee

          On April 30, 2020, the Committee and Chapter 7 Trustee for both Rooftop Services and
  Rooftop USA filed a Joint Motion to Convert Rooftop Services [Docket Nos. 41, 42] and Rooftop
  USA [Docket Nos. 52, 53] cases to Chapter 11, and for the Appointment of a Chapter 11 Trustee
  in both cases. By Order entered May 7, 2020, the Bankruptcy Court granted the Joint Motion and
  entered an Order converting Rooftop Services [Docket Nos. 45, 46] and Rooftop USA [Docket
  Nos. 56, 57] to cases under Chapter 11 and directing the Office of the United States Trustee to
  appoint a Chapter 11 Trustee. On May 12, 2020, the Office of the United States Trustee appointed
  Daniel J. Sherman as the Chapter 11 Trustee in both Rooftop Services [Docket No. 50] and
  Rooftop USA [Docket No. 60] cases.

         K.     Joint Administration


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         On May 22, 2020, the Committee and Trustee filed an Unopposed Motion for Joint
  Administration of the three Chapter 11 Cases. By Order entered May 27, 2020, the Bankruptcy
  Court directed the joint administration of the Chapter 11 Cases [Docket No. 204].

  V.     ASSETS, OPERATIONS AND LIABILITIES OF THE DEBTORS

       REFERENCE IN THIS DISCLOSURE STATEMENT TO THE AMOUNT OF ANY
  CLAIM IS NOT AN ADMISSION OR ACKNOWLEDGEMENT OF THE ALLOWED
  AMOUNT OF SUCH CLAIM, NOR IS REFERENCE TO THE VALUE OF ANY ASSET
  OR AMOUNT OF ANY CAUSE OF ACTION AN ADMISSION OF SUCH VALUE OR
  AMOUNT. NO CREDITOR SHOULD VOTE FOR THE PLAN ON THE ASSUMPTION
  THAT AN OBJECTION TO ITS, HIS OR HER CLAIM WILL NOT BE MADE.

         A.      Assets

                   1.      Based upon the information currently available to the Committee, (A)
  Rooftop International’s Assets consist primarily of (i) intellectual property; (ii) its ownership
  interest in various subsidiaries and affiliates; and (iii) Causes of Action; and (B) Rooftop Services’
  and Rooftop USA’s Assets consist primarily of (i) accounts receivable (which may or may not be
  collectible); (ii) inventory; and (iii) Causes of Action.

                2.      As of April 30, 2020, Rooftop International reported cash in its account in
  the amount of $106,795.00 [Docket No. 202]. As of May 27, 2020, the Trustee has $14,470.00 in
  the Rooftop Services account, and $95,241.00 in the Rooftop USA account.

                   3.     All Causes of Action shall be transferred to and vest in the Litigation Trust
  and administered by the Litigation Trustee pursuant to Section 5.4 of the Plan The Litigation
  Trustee shall pursue, settle, or release all Causes of Action, as appropriate, in accordance with the
  best interest of and for the benefit of the Creditors entitled to receive distributions under the Plan.

  In not describing any potential Causes of Action herein, the Committee and Trustee do not
  in any way intend to indicate that any Causes of Action do not exist, and the failure to include
  any description of specific Causes of Action in this Disclosure Statement should not be
  considered an admission or acknowledgement by the Committee or Trustee that any Causes
  of Action will not be pursued, since the Committee and Trustee have not fully investigated
  potential Causes of Action. All such Causes of Action will vest in the Litigation Trust and
  may be prosecuted by the Litigation Trustee on behalf of the Post-Confirmation Debtor after
  confirmation of the Plan. No holder of a Claim or Interest should vote to accept the Plan
  based upon the Committee’s or Trustee’s failure to describe or assert any Causes of Action
  not otherwise disclosed herein.

         B.      Operating Performance

                While in Chapter 11, the Committee and Trustee are unaware of any operating
  performance by (i) Rooftop International other than collecting royalty revenue from the Amex
  Licensing Agreement; and (ii) Rooftop Services and Rooftop USA.

         C.      Liabilities of the Debtors


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                1.      Administrative Claims Other Than Fee Claims

                      The Committee and Trustee anticipate that the Debtors will have only
  nominal unpaid Allowed Administrative Claims (other than Fee Claims), if any, as of the Effective
  Date.

                2.      Fee Claims

                      The Committee and Trustee anticipate that the Debtors may have unpaid
  Allowed Fee Claims as of the Effective Date.

                3.      Priority Claims

                The Committee and Trustee do not believe that the Debtors will have any unpaid
  Allowed Priority Claims as of the Effective Date.

                4.      Secured Claims

                Certain creditors have filed secured claims in the Debtors’ cases.

                Any such claim is secured only to the extent of the value of the collateral
  properly perfected and securing such claim, and nothing contained in this Disclosure
  Statement or any exhibit or attachment hereto shall be construed as an admission as to the
  value of any such collateral or the amount of any such secured claim, the Committee and
  Trustee reserve all rights as to such matters.

                5.      General Unsecured Claims

                 Rooftop International scheduled $59,910,238.06 owing on account of General
  Unsecured Claims as of the Petition Date [Docket No. 38 in the Rooftop International case], and
  the total amount of filed General Unsecured Claims against Rooftop International was
  approximately $78,200,000. Rooftop Services scheduled $25,590.00, in addition to various
  “unknown amounts” owing on account of General Unsecured Claims as of the Petition Date
  [Docket No. 15 in the Rooftop Services case], and the total amount of filed General Unsecured
  Claims against Rooftop Services was approximately $10,933,231.20. Rooftop USA scheduled
  $13,660,158.82 owing on account of General Unsecured Claims as of the Petition Date [Docket
  No. 17 in the Rooftop USA case], and the total amount of filed General Unsecured Claims against
  Rooftop Services was approximately $19,869.338.00.

  VI.    SUMMARY OF THE PLAN

       THE FOLLOWING IS A SUMMARY OF THE PLAN. THIS SUMMARY IS
  MODIFIED IN ITS ENTIRETY BY REFERENCE TO THE FULL TEXT OF THE PLAN,
  A COPY OF WHICH IS ATTACHED HERETO AS EXHIBIT “A”. TO THE EXTENT A
  CONFLICT EXISTS BETWEEN THIS SUMMARY AND THE TERMS OF THE PLAN,
  THE TEXT OF THE PLAN CONTROLS

         A.     Plan Concept


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                 The Committee and Trustee seek to consummate the Restructuring on the Effective
  Date of the Plan. In the event all conditions precedent to the Effective Date for the Plan necessary
  to consummate the Restructuring are not timely satisfied or waived by the Committee, the
  Committee and Trustee shall then seek to consummate the Liquidation on the Effective Date of
  the Plan.

                 The Committee and Trustee believe that the value of the Debtors’ Assets can be
  best maximized through a Restructuring whereby the Debtors will be reorganized as a going
  concern. If a Restructuring cannot be consummated, then alternatively the Committee and Trustee
  believe the value of the Debtors’ Assets can be best maximized through an orderly liquidation as
  opposed to an immediate sale of the Assets by a Chapter 7 Trustee. See Exhibit “B”.

                 Under either a Restructuring or a Liquidation, the Plan contemplates, and is
  predicated upon, the entry of an order, which may be the Confirmation Order, substantively
  consolidating the Debtors’ Estates and the Chapter 11 Cases for administrative convenience and
  for purposes of implementing the Plan, voting, assessing whether the standards for Confirmation
  have been met, calculating and making Distributions under the Plan and filing post-Confirmation
  reports and paying quarterly fees to the Office of the United States Trustee.

                 Under either a Restructuring or a Liquidation, a Litigation Trust shall be established
  and a Litigation Trustee appointed. Subject to Bankruptcy Court approval, the Litigation Trustee
  shall be KRyS Global USA, Inc., and any successor trustee appointed pursuant to the Litigation
  Trust Agreement. Pursuant to Section 5.4 of the Plan, the Litigation Trustee shall, among other
  things, commence and pursue Causes of Action. Under either a Restructuring or a Liquidation,
  pursuant to Section 8.7 of the Plan, the Litigation Trustee shall, among other things, prosecute
  objections to Claims and compromise or settle any Claims (disputed or otherwise).

                Under a Restructuring, the Post-Confirmation Debtor shall, among other things, (i)
  implement the Restructuring Transactions as described in Section 6.2 of the Plan; (ii) create a
  holding company (“Rooftop Holding Company”) as its immediate parent; (iii) enter into New
  Secured Financing, as necessary; and Rooftop Holding Company shall issue or reserve for issuance
  New Common Stock for distribution in accordance with the terms of the Plan.

                 Under a Liquidation, the Plan Administrator shall, among other things, supervise
  the orderly liquidation of the Debtors’ Assets. Subject to Bankruptcy Court approval, the Plan
  Administrator shall be KRyS Global USA, Inc., and any successor plan administrator duly
  appointed.

         B.      Payments to Creditors

                 1.      Secured Creditors

                 Under the Plan, secured creditors will receive, at the election of the Committee, (i)
  deferred cash payments having a present value equal to the amount of its Allowed Class 2 Claim
  and retention of the liens securing such Claim to the extent of the allowed amount of such Claim;
  (ii) the “indubitable equivalent” of such Allowed Class 2 Claim; (iii) the distribution of the
  collateral securing such Allowed Class 2 Claim; or (iv) other mutually agreeable treatment on
  account of such Claim. Any deficiency will be an unsecured claim (unless previously waived)


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  which will share Pro Rata with other unsecured creditors. See Section E (Treatment of Claims)
  below.

                 2.      Unsecured Creditors

                 Under the Plan, unsecured creditors will receive Pro Rata distribution of (a) Net
  Proceeds from Causes of Action and (b) either (i) upon a Restructuring, the New Common Stock
  Distribution; or (ii) upon a Liquidation, Net Proceeds from such Liquidation.

                 3.      Timing and Amount of Payments

                The timing and amount of a distribution will be decided by the Litigation Trustee
  or Plan Administrator, as applicable, who may consider factors such as the amount of funds on
  hand and future operating expenses.

         C.      The Status of the Debtors’ Officers after Confirmation

                 1.       After the Plan becomes effective, the terms of the current members of the
  board of directors of the Debtors shall expire, and either (a) under a Restructuring, the New Board
  shall be appointed; or (b) under a Liquidation, the Plan Administrator shall be deemed the sole
  shareholder, officer, and director of the Post-Confirmation Debtor.

                 2.      There is no current agreement between the Post-Confirmation Debtor,
  Litigation Trustee, or Plan Administrator, as applicable, and Darren Matloff, or any other officer,
  regarding the employment of Mr. Matloff or other officer after the Plan becomes effective. The
  Post-Confirmation Debtor, Litigation Trustee, or Plan Administrator, as applicable, may seek to
  employ Mr. Matloff or another officer on a salaried or consulting basis. Under a Restructuring,
  Mr. Matloff and other officers may be entitled to participate in the Management Incentive Plan
  provided for in Section 6.6 of the Plan.

         D.      Plan Provisions Governing Classification and Treatment of Claims

                  1.     Unclassified Claims. Administrative Claims and Priority Tax Claims are
  not classified in the Plan. Holders of Allowed Administrative Claims and Allowed Priority Tax
  Claims shall be treated under the Plan as follows:

                 (a)     Administrative Claims Other Than Fee Claims. Except to the extent the
  Holder of an Allowed Administrative Claim agrees otherwise, each Holder of an Allowed
  Administrative Claim shall be paid in respect of such Allowed Claim the full amount thereof,
  without interest, in Cash, as soon as practicable after the later of (i) the Effective Date or (ii) the
  date on which such Claim becomes an Allowed Claim.

                   (b)    Fee Claims. All Professionals seeking allowance by the Bankruptcy Court
  of a Fee Claim (a) shall file their respective final applications for allowance of compensation for
  services rendered and reimbursement of expenses incurred by a date that is not later than the date
  that is forty-five (45) calendar days after the Effective Date; and (b) shall be paid by the Post-
  Confirmation Debtor, in such amounts as are approved by the Bankruptcy Court (i) upon the later
  of (x) the Effective Date and (y) ten (10) calendar days after the date upon which the order relating


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  to the allowance of any such Fee Claim is entered, or (ii) upon such other terms as may be mutually
  agreed upon between the holder of such Fee Claim and the Post-Confirmation Debtor.

                  (c)      Priority Tax Claims. Each Holder of an Allowed Priority Tax Claim shall
  be paid in respect of such Allowed Priority Tax Claim either (a) the full amount thereof, without
  post-petition interest or penalty, in Cash, as soon as practicable after the later of (i) the Effective
  Date or (ii) the date on which such Priority Tax Claim becomes an Allowed Claim or (b) such
  lesser amount as the Holder of an Allowed Priority Tax Claim and the Committee might otherwise
  agree or (c) at the election of the Post-Confirmation Debtor, in accordance with Section
  1129(a)(9)(C) of the Bankruptcy Code, in Cash, in up to twenty equal quarterly installments (and
  in such event, interest shall be paid on the unpaid portion of such Allowed Priority Tax Claims at
  a rate to be agreed to by the Post-Confirmation Debtor and the appropriate governmental unit, or,
  if they are unable to agree, as determined by the Bankruptcy Court), commencing as soon as
  practicable after the later of (i) the Effective Date or (ii) the date on which such Priority Tax Claim
  becomes an Allowed Claim.

                 2.      Classification of Claims and Interests

         For purposes of the Plan, all other Claims and Interests are classified as follows:

   Class                                            Status             Voting Rights
   Class 1 – Priority Claims                        Unimpaired         Not Entitled to Vote
   Class 2 – Secured Claims                         Impaired           Entitled to Vote
   Class 3 – General Unsecured Claims               Impaired           Entitled to Vote
   Class 4 – Interests                              Impaired           Not Entitled to Vote

         E.      Treatment of Claims

                 1.       Claims and Interests. The Debtors’ obligations in respect of such Claims
  and Interests shall be satisfied in accordance with the terms of the Plan. The Plan constitutes one
  Plan proposed by consolidated Rooftop Group Services (US) Inc. and each Claim filed or to be filed
  against any Debtor shall be deemed a single claim filed only against the consolidated Rooftop Group
  Services (US) Inc.


                  2.      Class 1 Claims - Priority Claims. Class 1 Claims are Unimpaired. Each
  Holder of an Allowed Class 1 Claim shall receive either (a) payment in full in Cash as soon as
  practicable after the later of (i) the Effective Date, and (ii) the date on which such Claim becomes
  an Allowed Claim or (b) as otherwise agreed by the Holder of such Allowed Class 1 Claim. The
  Holders of Claims in this Class are not entitled to vote.

                  3.      Class 2 Claim - Secured Claims. Class 2 Claims are Impaired. Each
  Holder of an Allowed Class 2 Claims shall receive, at the election of the Committee, (i) deferred
  cash payments having a present value equal to the amount of its Allowed Class 2 Claim and
  retention of the liens securing such Claim to the extent of the allowed amount of such Claim; (ii)
  the “indubitable equivalent” of such Allowed Class 2 Claim; (iii) the distribution of the collateral




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  securing such Allowed Class 2 Claim; or (iv) other mutually agreeable treatment on account of
  such Claim. The Holders of Claims in this Class are entitled to vote.

                  4.      Class 3 Claims – General Unsecured Claims. Class 3 Claims are
  Impaired. After the payment or reserve for Administrative Claims, Priority Tax Claims, Priority
  Claims, Secured Claims, and Plan Expenses, each Holder of an Allowed Class 3 Claim shall
  receive in respect of such Claim its Pro Rata distribution of (a) Net Proceeds from Causes of Action
  and (b) either (i) upon a Restructuring, the New Common Stock Distribution; or (ii) upon a
  Liquidation, Net Proceeds from such Liquidation. The Holders of Claims in this Class are entitled
  to vote.

                   5.     Class 4 - Interests. Class 4 Interests are Impaired. The Holders of Class 4
  Interests shall receive no distribution. On the Effective Date, all Class 4 Interests shall be deemed
  canceled, null and void, and of no force and effect. The Holders of Class 4 Interests are deemed to
  reject the Plan and are not entitled to vote.

         F.      Means for Plan Implementation; General

    The following Sections F.1 - F.8 shall be applicable to either a Restructuring or a Liquidation

               1.      Restructuring or Liquidation. On the Effective Date, the Debtors will
  consummate either a Restructuring or a Liquidation in accordance with the terms of the Plan.

                        (a)     Restructuring. If all of the conditions enumerated in Sections 10.2
  and 10.3 of the Plan are timely satisfied or waived, then on the Effective Date the Debtors shall
  consummate the Restructuring, including all the terms of Article VI of the Plan.

                          (b)    Liquidation. If only the conditions enumerated in Section 10.2 of the
  Plan are timely satisfied or duly waived, then on the Effective Date the Debtors shall consummate
  the Liquidation, including all the terms of Article VII of the Plan.

                 2.     Corporate Action. On the Effective Date and without further action by the
  Bankruptcy Court or any officer, director, or shareholder of a Debtor, each existing officer and
  director of each Debtor shall be deemed to have resigned their position.

                  3.      Substantive Consolidation. The Plan contemplates, and is predicated
  upon, the entry of an order, which may be the Confirmation Order, substantively consolidating the
  Estates and the Chapter 11 Cases for administrative convenience and for purposes of implementing
  the Plan, voting, assessing whether the standards for Confirmation have been met, calculating and
  making Distributions under the Plan and filing post-Confirmation reports and paying quarterly
  fees to the Office of the United States Trustee. Accordingly, on the Effective Date: (i) all
  Intercompany Claims and Interests held by, between and among the Debtors shall be deemed
  eliminated, (ii) all assets and liabilities of the Debtors shall be merged or treated as if they were
  merged with the assets and liabilities of Rooftop Group Services (US) Inc., (iii) any obligation of
  a Debtor and all guarantees thereof by one or more of the other Debtors shall be deemed to be one
  obligation of Rooftop Group Services (US) Inc., and (iv) each Claim filed or to be filed against
  any Debtor shall be deemed filed only against the consolidated Rooftop Group Services (US) Inc.,


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  and shall be deemed a single Claim against and a single obligation of the consolidated Rooftop
  Group Services (US) Inc. On the Effective Date, in accordance with the terms of the Plan, all
  Claims based upon co-obligations or guarantees of collection, payment, or performance made by
  the Debtors as to the obligations of another Debtor shall be merged into a single obligation of
  Rooftop Group Services (US) Inc., and otherwise shall be released and of no further force and
  effect.

          This substantive consolidation shall not otherwise affect (a) the vesting of assets in the
  Litigation Trust; (b) the right to Distributions from any insurance policies or proceeds of such
  policies; or (c) the rights of the Litigation Trustee to contest setoff or recoupment rights alleged by
  creditors on the grounds of lack of mutuality under Section 553 of the Bankruptcy Code and other
  applicable law. In addition, substantive consolidation shall not, and shall not be deemed to,
  prejudice any of (i) the Causes of Action, which shall survive for the benefit of the Debtors and
  their Estates and, upon the Effective Date, for the benefit of the Litigation Trust and its
  beneficiaries; or (ii) the available defenses to the Causes of Action.

                  4.      Causes of Actions. On the Effective Date, all Causes of Action shall be
  transferred to and vest in the Litigation Trust and administered by the Litigation Trustee. The
  Litigation Trustee shall pursue, settle, or release all reserved Causes of Action for and on behalf
  of the Debtors’ Estates and for the benefit of the Creditors entitled to receive distributions under
  the Plan. Any Net Proceeds of the Causes of Action received subsequent to the Effective Date
  shall be deposited into the Litigation Trust for distribution in accordance with the Plan and
  Litigation Trust Agreement. The Causes of Action and proceeds therefrom shall be transferred
  and assigned by the Debtors and their Estates (and deemed transferred) to the Litigation Trust free
  and clear of all Claims, Liens, charges, encumbrances, and rights and interests, without the need
  for any Entity to take any further action or obtain any approval and the Litigation Trust shall be
  authorized as the representative of the Estates to pursue the Causes of Action. In accordance with
  Section 1123(b) of the Bankruptcy Code, the Litigation Trustee shall have the exclusive right to
  commence and pursue, as appropriate, in his/her sole discretion and without further order of the
  Bankruptcy Court, in any court or other tribunal, including, without limitation, in an adversary
  proceeding filed in the Chapter 11 Cases, any and all Causes of Action, and the Litigation Trustee’s
  right to commence, prosecute, or settle any such Causes of Action shall be preserved
  notwithstanding entry of the Confirmation Order or the occurrence of the Effective Date.

          Unless a Cause of Action against any Entity is expressly waived, relinquished, released,
  discharged, compromised or settled in the Plan or any Final Order (including the Confirmation
  Order), all Cause of Actions are expressly reserved and shall be vested in the Litigation Trust
  pursuant to the Plan, and, therefore, no preclusion doctrine, including, without limitation, the
  doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel
  (judicial, equitable or otherwise) or laches shall apply to any Causes of Action upon or after the
  entry of the Confirmation Order or Effective Date based on the Disclosure Statement, the Plan or
  the Confirmation Order or any other Final Order (including the Confirmation Order). In addition,
  the Litigation Trustee reserves the right to pursue or adopt any claims alleged in any lawsuit in
  which a Debtor is a defendant or an interested party, against any Entity, including, without
  limitation, the plaintiffs or co-defendants in such lawsuits.




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           An initial list of the Causes of Action shall be included in the Plan Supplement. The failure
  to list a claim, right, cause of action, suit or proceeding shall not constitute a waiver or release by
  a Debtor or its Estate of such claim, right of action, suit or proceeding. No Entity may rely on the
  absence of a specific reference in the Plan or the Disclosure Statement to any Causes of Action
  against them as any indication that the Litigation Trustee will not pursue any and all available
  Causes of Action against them. While the initial list included in the Plan Supplement provides
  notice to certain Persons and Entities of the existence of Causes of Action against them, it is not
  intended to limit the Causes of Action the Litigation Trustee may prosecute as others may be
  discovered after the Plan Supplement is filed.

                  5.     Litigation Trust. The Litigation Trust shall be established and shall
  become effective on the Effective Date. The Litigation Trust shall be governed and administered
  in accordance with the Plan and the Litigation Trust Agreement. The Litigation Trust Oversight
  Board shall (i) be selected by the Committee; (ii) consist of three (3) members; (iii) be governed
  in accordance with the Litigation Trust Agreement; and (iv) be included in the Plan Supplement.
  The Litigation Trustee shall have the exclusive right to (a) prosecute objections to Claims on behalf
  of the Post-Confirmation Debtor and compromise or settle any Claims (disputed or otherwise);
  and (b) commence and pursue Causes of Action as described in Section 5.4 of the Plan. The
  Litigation Trustee shall have the authority to employ and compensate any and all such
  professionals as the Litigation Trustee, in his or her sole discretion, deems reasonably necessary
  to perform his or her duties under the Plan, including any professional that represented a party in
  the Chapter 11 Cases, without further order of the Bankruptcy Court. The Litigation Trustee may,
  without application to or approval of the Bankruptcy Court, pay the charges that he or she incurs
  after the Effective Date for professional fees and expenses that, but for the occurrence of the
  Effective Date, would constitute Allowed Fee Claims or Allowed Administrative Claims. The
  Litigation Trustee shall have the authority to obtain financing, including contingent fee
  arrangements, sufficient to undertake the various actions contemplated by the Litigation Trustee
  and perform his or her duties in accordance with the Plan and the Litigation Trust Agreement,
  without application to or approval of the Bankruptcy Court.

                  6.      Post-Effective Date Professional Fees and Expenses. Professionals that
  perform post-Effective Date services for the Post- Confirmation Debtor, Litigation Trustee or the
  Plan Administrator shall provide monthly invoices to the Post-Confirmation Debtor, Litigation
  Trustee or Plan Administrator, as applicable, describing the services rendered and the fees and
  expenses incurred in connection therewith, on or before the 20th day following the end of the
  calendar month during which such services were performed. Professionals who tender such
  invoices shall be paid by the Post-Confirmation Debtor, Litigation Trustee or Plan Administrator,
  as applicable, for such services from the Plan Expense Reserve Fund on or after the date that is
  fifteen (15) days after the submission to the Post-Confirmation Debtor, Litigation Trustee or Plan
  Administrator, as applicable by such professionals of said monthly invoices, unless, within said
  fifteen (15) day period, a written objection to said payment is made, in which event such payment
  shall be made only upon either (a) agreement of the parties or (b) Order of the Bankruptcy Court.

                7.      Dissolution of Committee. Upon the occurrence of the Effective Date, the
  Committee shall be dissolved, and each individual member and any retained Professional shall be
  discharged from any further activities in the Chapter 11 Cases. The Professionals retained by the
  Committee and the members thereof will not be entitled to assert any Fee Claims for services


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  rendered or expenses incurred after the Effective Date, except for reasonable fees for services
  rendered, and actual and necessary expenses incurred, in connection with any applications for
  allowance of compensation and reimbursement of expenses pending on the Effective Date or filed
  and served after the Effective Date for services provided prior to the Effective Date.

                  8.     Discharge of Trustee. Upon the occurrence of the Effective Date, the
  Trustee’s appointment as Chapter 11 Trustee for Rooftop Group USA, Inc. and Rooftop Group
  Services (US) Inc. shall terminate, and any Professional retained by the Trustee shall be discharged
  from any further activities in the Chapter 11 Cases. The Professionals retained by the Trustee
  thereof will not be entitled to assert any Fee Claims for services rendered or expenses incurred
  after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
  expenses incurred, in connection with any applications for allowance of compensation and
  reimbursement of expenses pending on the Effective Date or filed and served after the Effective
  Date for services provided prior to the Effective Date.

         G.      Means for Plan Implementation; Restructuring

  If the Financing Condition IS timely satisfied or waived, the Debtors shall consummate the
  Restructuring transactions and the following Sections G.1 – G.14 shall apply. In that event,
  Sections H.1 – H.8 below shall not apply and shall be of no further force or effect.

                1.     The New Board. On the Effective Date, and without any further action by
  the Bankruptcy Court or any officer, director, or shareholder of a Debtor, the New Board shall be
  appointed.

                 2.      Restructuring Transactions.          On the Effective Date, the Post-
  Confirmation Debtor shall be authorized to implement, and shall implement, the Restructuring
  Transactions. The actions to implement the Restructuring Transactions may include: (a) the
  execution and delivery of appropriate instruments of transfer, assignment, assumption, or
  delegation of any asset, property, interest, or right consistent with the terms of the Plan; (b) the
  filing of appropriate certificates or articles of incorporation, reincorporation, merger,
  consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant to
  applicable state law; (c) obtaining New Secured Financing; (d) issuing or reserving for issuance
  New Common Stock; (e) entering into employment agreements with members of management; (f)
  creation of the Litigation Trust and (g) all other actions that the Post-Confirmation Debtor
  determines to be necessary or appropriate and consistent with the Plan and Confirmation Order.

                  3.      New Secured Financing. The Post-Confirmation Debtor, a Debtor, or
  Debtors, at the direction of the Committee, as applicable, shall be authorized to enter into New
  Secured Financing Documents on or before the Effective Date in an amount sufficient to
  consummate the Restructuring. On the Effective Date, the New Secured Financing Documents
  shall constitute legal, valid, binding, and authorized obligations of either the Post-Confirmation
  Debtor or the Debtors as applicable, and following the consummation of the Restructuring
  Transactions, the New Secured Financing Documents shall constitute legal, valid, binding, and
  authorized obligations of the Post-Confirmation Debtor, enforceable in accordance with their
  terms. The financial accommodations to be extended under the New Secured Financing
  Documents are being extended and shall be deemed to have been extended in good faith and for


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  legitimate business purposes and are reasonable and shall not be subject to avoidance,
  recharacterization, or subordination (including equitable subordination) for any purposes
  whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other
  voidable transfers under the Bankruptcy Code or any other applicable nonbankruptcy law. On the
  Effective Date, all of the Liens and security interests to be granted in accordance with the New
  Secured Financing Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and
  enforceable Liens on and security interests in the collateral granted thereunder in accordance with
  the terms of the New Secured Financing Documents, (c) shall be deemed automatically perfected
  on the Effective Date (without any further action being required by a Debtor, the Post-
  Confirmation Debtor, as applicable, the applicable agent, or any of the applicable lenders), having
  the priority set forth in the New Secured Financing Documents and subject only to such Liens and
  security interests as may be permitted under the New Secured Financing Documents, and (d) shall
  not be subject to avoidance, recharacterization, or subordination (including equitable
  subordination) for any purposes whatsoever and shall not constitute preferential transfers,
  fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any applicable
  non-bankruptcy law. The Debtors, the Post-Confirmation Debtor, as applicable, and the Entities
  granted such Liens and security interests are authorized to make all filings and recordings and to
  obtain all governmental approvals and consents necessary to establish and perfect such Liens and
  security interests under the provisions of the applicable state, provincial, federal, or other law
  (whether domestic or foreign) that would be applicable in the absence of the Plan and the
  Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
  entry of the Confirmation Order, and any such filings, recordings, approvals, and consents shall
  not be required) and will thereafter cooperate to make all other filings and recordings that
  otherwise would be necessary under applicable law to give notice of such Liens and security
  interests to third parties.

                  4.      New Common Stock. On the Effective Date, Rooftop Holding Company
  shall issue or reserve for issuance all of the New Common Stock issued or issuable in accordance
  with the terms of the Plan, subject to dilution on the terms described herein. The issuance of the
  New Common Stock for distribution under the Plan is authorized without the need for further
  corporate action, and all of the shares of New Common Stock issued or issuable under the Plan
  shall be duly authorized and validly issued, fully paid, and non-assessable.

                  5.     Stockholders Agreement. On the Effective Date, the Post-Confirmation
  Debtor and the Holders of the New Common Stock shall enter into the Stockholders Agreement
  in substantially the form included in the Plan Supplement if one is included therein. The
  Stockholders Agreement shall be deemed to be valid, binding, and enforceable in accordance with
  its terms, and each holder of the New Common Stock shall be bound thereby, in each case without
  the need for execution by any party thereto other than the Post-Confirmation Debtor.

                 6.     Management Incentive Plan. On the Effective Date, up to 10% of the
  New Common Stock will be reserved for issuance under the Management Incentive Plan to
  directors, officers, and key employees of the Post-Confirmation Debtor (each, a “MIP
  Participant”). The form, terms, allocation, and vesting applicable to the Management Incentive
  Plan shall be determined by the New Board.




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                 7.    Senior Management. The initial members of the Post-Confirmation
  Debtor’s senior management and initial officers shall be selected by the Committee and included
  in the Plan Supplement.

                  8.      Continued Corporate Existence. Except as expressly provided in the
  Plan, each Debtor shall continue to exist as of the Effective Date as a separate corporate entity,
  with all the powers of such corporate entity, under the applicable law in the jurisdiction in which
  the Debtor is incorporated. The Post-Confirmation Debtor shall create a holding company as its
  immediate parent (“Rooftop Holding Company”) to act as the issuer of equity securities to the
  public, including to Holders entitled to receive New Common Stock under the Plan. Therefore, in
  lieu of shares of the Post-Confirmation Debtor, Holders should expect to receive Rooftop Holding
  Company stock. It is currently anticipated that Rooftop Holding Company will conduct no
  operations and hold no assets other than 100% of the shares of the Post-Confirmation Debtor.

                  9.      Vesting of Assets in the Post-Confirmation Debtor. Except as otherwise
  provided in the Plan or any agreement, instrument, or other document incorporated herein, on the
  Effective Date, all property in each Estate, all Causes of Action, and any property acquired by the
  Debtors under the Plan shall vest in the Post-Confirmation Debtor free and clear of all Liens,
  Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise
  provided in the Plan, the Post-Confirmation Debtor may operate its business and may use, acquire,
  or dispose of property and compromise or settle any Claims, Equity Interests, or Causes of Action
  without supervision or approval by the Bankruptcy Court and free of any restrictions of the
  Bankruptcy Code or Bankruptcy Rules. For avoidance of doubt, the Causes of Action shall vest
  and be transferred to the Litigation Trust and administered by the Litigation Trustee pursuant to
  Section 5.4 of the Plan.

                   10.     Cancellation of Security Interests and Other Interests. On the Effective
  Date, (i) all security interests and/or Liens granted by a Debtor to any Entity shall be automatically
  released, discharged, terminated, and of no further force and effect; and (ii) all Interests, shall be
  deemed canceled, null and void, and of no further force and effect.

                  11.     Exemption from Registration Requirements; Trading of Securities.
  The offering, issuance, and distribution of New Common Stock issued under the Plan shall be
  exempt from, among other things, the registration requirements of Section 5 of the Securities Act
  under Section 1145(a)(1) of the Bankruptcy Code. Except as otherwise provided in the Plan or
  the governing certificates or instruments, any and all New Common Stock issued under the Plan
  will be freely tradable under the Securities Act by the recipients thereof, subject to: (1) the
  provisions of Section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
  underwriter in Section 2(a)(11) of the Securities Act, and compliance with any applicable
  individual state securities laws (“Blue Sky Laws”) or foreign securities laws, if any, and any rules
  and regulations of the Securities Exchange Commission, if any, applicable at the time of any future
  transfer of such New Common Stock or instruments; (2) the restrictions, if any, on the
  transferability of such New Common Stock and instruments provided by law; and (3) any other
  applicable regulatory approvals and requirements.

         The Committee, the Trustee, the Debtors and the Post-Confirmation Debtor are not able to
  determine the availability of state securities laws exemptions for an issuance to a particular Holder.


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  Certain states do not provide exemptions for offerings relying on a federal private placement
  exemption and, in such states, state securities laws requirements must be met. Accordingly, there
  can be no assurance that a state securities law exemption will be available in a particular state for
  a Holder receiving New Common Stock under the Plan, which may necessitate one or more state
  securities filings on behalf of such Holder to comply with state securities laws.

                   12.      Organizational Documents. Subject to Article VI of the Plan, the Post-
  Confirmation Debtor and Rooftop Holding Company shall enter into such agreements and amend
  their corporate governance documents to the extent necessary to implement the terms and
  provisions of the Plan. Under Section 1123(a)(6) of the Bankruptcy Code, the organizational
  documents of the Post-Confirmation Debtor will prohibit the issuance of non-voting Equity
  Securities. After the Effective Date, the Post-Confirmation Debtor and Rooftop Holding Company,
  as applicable, (i) will amend and restate their organizational documents; and (ii) will file their
  certificates or articles of incorporation, bylaws, or such other applicable formation documents, and
  other constituent documents as permitted by the laws of the respective states, provinces, or
  countries of incorporation and the organization documents.

                  13.     Exemption from Certain Transfer Taxes and Recording Fees. To the
  fullest extent permitted by Section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to
  the Post-Confirmation Debtor or to any Entity under, in contemplation of, or in connection with
  the Plan or under: (1) the issuance, distribution, transfer, or exchange of any debt, securities, or
  other interest in a Debtor or the Post-Confirmation Debtor; (2) the creation, modification,
  consolidation, or recording of any mortgage, deed of trust or other security interest, or the securing
  of additional indebtedness by such or other means; (3) the making, assignment, or recording of
  any lease or sublease; or (4) the making, delivery, or recording of any deed or other instrument of
  transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
  assignments, or other instrument of transfer executed in connection with any transaction arising
  out of, contemplated by, or in any way related to the Plan, shall not be subject to any document
  recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate
  transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory
  filing or recording fee, or other similar tax or governmental assessment, and the appropriate state
  or local governmental officials or agents shall forego the collection of any such tax or
  governmental assessment and to accept for filing and recordation any of the foregoing instruments
  or other documents without the payment of any such tax or governmental assessment.

                   14.    Discharge of Claims. Except as otherwise provided herein or in the
  Confirmation Order, the rights afforded in the Plan and the payments and distributions to be made
  hereunder shall discharge all existing debts and Claims and terminate all Interests of any kind,
  nature, or description whatsoever against or in a Debtor or any of a Debtor’s assets or properties
  to the fullest extent permitted by Section 1141 of the Bankruptcy Code. Except as provided in the
  Plan, upon the occurrence of the Effective Date, all existing Claims against and Interests in a
  Debtor, shall be, and shall be deemed to be, discharged and terminated, and all holders of Claims
  and Interests shall be precluded and enjoined from asserting against the Debtors, the Post-
  Confirmation Debtor, or its successors or assigns, or any of its assets or properties, any other or
  further Claim or Interest based upon any act or omission, transaction, or other activity of any kind
  or nature that occurred prior to the Effective Date, whether or not such holder has filed a Proof of



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  Claim or proof of Interest and whether or not the respective facts or legal bases were known or
  existed prior to the Effective Date.

         H.      Means for Plan Implementation; Liquidation

  If the Financing Condition IS NOT timely satisfied or waived, the Debtors shall consummate the
  Liquidation transactions and the following Sections H.1 – H.8 shall apply. In that event, Sections
  G.1 - G.14 above shall not apply and shall be of no further force or effect.

                 1.     Corporate Action. On the Effective Date and without further action by the
  Bankruptcy Court or any officer, director, or shareholder of the Debtors, the Plan Administrator
  shall be deemed the sole shareholder, officer, and director of the Post-Confirmation Debtor. The
  Plan will be administered by the Plan Administrator, and all actions taken thereunder in the name
  of the Post- Confirmation Debtor shall be taken through the Plan Administrator.

                  2.      Plan Administrator. On the Effective Date, the Plan Administrator shall
  begin acting for the Post-Confirmation Debtor in the same fiduciary capacity as applicable to a
  board of directors, subject to the provisions hereof. The Plan Administrator shall be compensated
  at his, her, or its normal and customary rates and may be paid without further order of the
  Bankruptcy Court in accordance with Section 7.6(c) of the Plan. The Plan Administrator shall be
  entitled to reimbursement for his actual, reasonable, and necessary expenses incurred in connection
  with the performance of his duties, including, but not limited to, attorneys’ fees and expenses,
  accounting fees and expenses and other professional fees and expenses, without the need for
  further Bankruptcy Court approval. The Plan Administrator shall not be liable for any action he or
  she takes or omits to take that he or she believes in good faith to be authorized or within his or her
  rights or powers, absent gross negligence or willful misconduct on his or her part. All distributions
  to be made to Creditors under the Plan shall be made by the Plan Administrator, who shall deposit
  and hold all Cash in trust for the benefit of Creditors (including Professionals) receiving
  distributions under the Plan. Subject to the review of the Oversight Committee as described in
  Section 7.6 of the Plan, the duties and powers of the Plan Administrator shall include the following:

                 (a)    To continue operating the Debtors’ businesses to the extent necessary to
         conduct an orderly liquidation of the Assets including, but not limited to, the collection and
         receipt of revenues from contracts and agreements, including, but not limited to, royalty
         revenue from licensing agreements, or sale of Property, and any other action that the Plan
         Administrator may deem necessary and appropriate to maximize the value of and return on
         the Debtors’ Assets;

                 (b)    To exercise all power and authority that may be exercised, to commence all
         proceedings (including the power to continue any actions and proceedings that may have
         been commenced by a Debtor or the Committee or the Trustee prior to the Effective Date)
         that may be commenced, and to take all actions that may be taken by any officer, director,
         or shareholder of the Post-Confirmation Debtor with like effect as if authorized, exercised,
         and taken by unanimous action of such officers, directors, and shareholders, including
         consummating the Plan and all transfers thereunder on behalf of the Post-Confirmation
         Debtor;



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                 (c)    To maintain all accounts, make distributions, and take other actions
         consistent with the Plan, including the maintenance of appropriate reserves, in the name of
         the Post- Confirmation Debtor;

                (d)      To take all steps necessary to terminate the corporate existence of the
         Debtors;

                 (e)     To collect the accounts receivable, if any, of the Debtors;

                 (f)    To employ and compensate any and all such professionals as the Plan
         Administrator, in his or her sole discretion, deems reasonably necessary to perform his or
         her duties under the Plan, including any professional that represented a party in the Chapter
         11 Cases, without further order of the Bankruptcy Court; and

                 (g)    To take all other actions not inconsistent with the provisions of the Plan that
         the Plan Administrator deems reasonably necessary or desirable in connection with the
         administration of the Plan, including, without limitation, filing all motions, pleadings,
         reports, and other documents in connection with the administration and closing of the
         Chapter 11 Cases.

                  3.      Resignation, Death, or Removal. The Plan Administrator may be
  removed by order of the Bankruptcy Court upon notice and motion by an Oversight Committee
  member for good cause shown. In the event of removal for good cause shown of the Plan
  Administrator, or in the event of the death or incapacity of the Plan Administrator, the Oversight
  Committee shall appoint a successor upon notice, motion, and approval of the Bankruptcy Court.
  In the event of the resignation of the Plan Administrator, the Plan Administrator shall nominate a
  successor, which nomination shall be deemed accepted by the Oversight Committee and shall be
  deemed effective upon the filing with the Bankruptcy Court of a Notice of Appointment of
  Successor Plan Administrator. The successor Plan Administrator without any further act shall
  become fully vested with all of the rights, powers, duties, and obligations of his or her predecessor.
  In the absence of any pending action to remove a Plan Administrator for good cause, any resigning
  Plan Administrator, without further action, order, or decree, shall be deemed released by the Post-
  Confirmation Debtor from any and all Claims, obligations, suits, judgments, damages, rights,
  causes of action and liabilities whatsoever (including those arising under the Bankruptcy Code),
  whether known or unknown, foreseen or unforeseen, existing or hereinafter arising in law, equity,
  or otherwise, based in whole or in part on any act, omission, transaction, event or other occurrence
  in connection with the Chapter 11 Cases; provided, however, that the foregoing shall not operate
  as a waiver of or release from any causes of action arising out of the willful misconduct or the
  gross negligence of the Plan Administrator unless the Plan Administrator acted in good faith and
  in a manner that the Plan Administrator reasonably believed to be in or not opposed to the best
  interests of the Debtors, and with respect to any criminal action or proceeding, had no reasonable
  cause to believe the Plan Administrator’s conduct was unlawful.

                 4.    Winding Up Affairs. On and after the Effective Date, the Plan
  Administrator may, in the name of the Post-Confirmation Debtor, take such actions without
  supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
  Code or the Bankruptcy Rules, other than any restrictions expressly imposed by the Plan or the


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  Confirmation Order. Without limiting the foregoing, the Plan Administrator may, without
  application to or approval of the Bankruptcy Court, pay the charges that he or she incurs after the
  Effective Date for professional fees and expenses that, but for the occurrence of the Effective Date,
  would constitute Allowed Fee Claims or Allowed Administrative Claims.

                  5.    Release of Liens. Except as otherwise expressly provided in the Plan or in
  any contract, instrument, or other agreement or document created in connection with the Plan, on
  the Effective Date, all mortgages, deeds of trust, liens, or other security interests against the
  Property of a Debtor’s Estate shall be released, and all the right, title, and interest of any Holder
  of such mortgages, deeds of trust, liens, or other security interests shall revert to the Post-
  Confirmation Debtor and its successors and assigns.

                 6.      Formation and Powers of the Oversight Committee.

                 (a)      The Committee shall select three (3) members of the Oversight Committee
         and file a notice of such selection with the Bankruptcy Court. As of the Effective Date,
         the Oversight Committee shall be have be deemed formed. In the event of the resignation
         or inability to perform for any reason of any member of the Oversight Committee after the
         Effective Date, the remaining members of the Oversight Committee shall have the right to
         designate a successor. If an Oversight Committee member assigns its Claim or releases the
         Debtors from payment of the balance of its Claim, such act shall constitute a resignation
         from the Oversight Committee. Until a vacancy on the Oversight Committee is filled, the
         Oversight Committee shall function in its reduced number.

                (b)     The individual members of the Oversight Committee shall serve without
         compensation, except that they shall be entitled to reimbursement of reasonable, actual and
         necessary out-of-pocket expenses (which shall not include any professional fees and
         expenses for attorneys or other professionals retained by an individual committee member)
         from the Plan Administrator.

                (c)      Following the Effective Date, the powers and duties of the Oversight
         Committee shall include (i) approving any release or indemnity in favor of any third party
         granted or agreed to by the Plan Administrator; (ii) approving the allowance of any
         Disputed Claim in excess of $500,000; (iii) approving the sale of any assets by the Plan
         Administrator in excess of $250,000; (iv) reviewing financial information relating to the
         Post-Confirmation Debtor, which shall be promptly provided by the Plan Administrator
         upon request by the Oversight Committee; (v) monitoring distributions to Creditors; (vi)
         taking such other actions as it deems necessary and appropriate with respect to the
         implementation of the Plan; (vii) prior to the payment of each invoice for services rendered
         by the Plan Administrator in his, her, or its capacity as Plan Administrator, reviewing and
         approving each such invoice, which invoice shall be deemed approved if not objected to
         by the Oversight Committee within 10 days of receipt; (viii) removing and replacing the
         Plan Administrator in accordance with Section 7.3 of the Plan; and (ix) performing such
         additional functions as may be provided for by further order of the Bankruptcy Court
         entered after the Effective Date.




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                  (d)    Following all payments being made to the holders of Allowed Claims under
          the Plan and the closing of the Chapter 11 Cases, the Oversight Committee shall be
          dissolved and the members thereof shall be released and discharged of and from all further
          authority, duties, responsibilities and obligations to and arising from their service as
          Oversight Committee members.

                  7.      Dissolution. As soon as practicable after the Effective Date and consistent
  with the orderly sale and liquidation of the Assets, the Debtors shall be dissolved for all purposes
  without the necessity for any other or further actions to be taken by or on behalf of a Debtor or
  payments to be made in connection therewith, provided, however, that the Plan Administrator shall
  be authorized (a) to continue such operations as may be necessary to effect the orderly sale and
  liquidation of the Assets, (b) to file a Debtor’s final tax returns, (c) to file and shall file with the
  official public office for keeping corporate records in the Debtor’s state of incorporation and/or
  country of incorporation, a certificate of dissolution or equivalent document, and (d) to perform
  such other and further activities consistent with the Plan. Except to the extent that operations
  continue consistent with the Plan, from and after the Effective Date, the Debtors (i) for all purposes
  shall be deemed to have withdrawn its business operations from any state or country in which it
  was previously conducting or is registered or licensed to conduct its business operations, and the
  Debtors shall not be required to file any document, pay any sum or take any other action, in order
  to effectuate such withdrawal, (ii) shall not be liable in any manner to any taxing authority for
  franchise, business, license or similar taxes accruing on or after the Effective Date.

                 8.     Insurance. On or as soon as practicable after the Effective Date, the Post-
  Confirmation Debtor and the Plan Administrator may obtain a fidelity bond or similar insurance
  in the estimated amount of the Assets on the Effective Date. In addition, the Plan Administrator
  may obtain (if available) directors’ and officers’ liability insurance or errors and omission
  insurance (or equivalent insurance).

          I.      Distributions

                  1.     Disbursing Agent. All distributions under the Plan shall be made by either
  the Litigation Trustee or the Plan Administrator, as applicable, as Disbursing Agent, or such other
  entity designated by the Litigation Trustee or Plan Administrator as Disbursing Agent.

                 2.      Expenses of the Disbursing Agent. Except as otherwise ordered by the
  Bankruptcy Court, any reasonable fees and expenses incurred by the Disbursing Agent (including,
  without limitation, taxes and reasonable attorneys’ fees and expenses) on or after the Effective
  Date shall be paid in Cash by the Litigation Trustee or Plan Administrator, as applicable, in the
  ordinary course of business.

                  3.     Rights and Powers of Disbursing Agent. The Disbursing Agent shall be
  empowered to (a) effect all actions necessary to perform its duties under the Plan, (b) make all
  distributions contemplated hereby, (c) employ professionals to represent it with respect to its
  responsibilities and (d) exercise such other powers as may be vested in the Disbursing Agent by
  order of the Bankruptcy Court, pursuant to the Plan or as deemed by the Disbursing Agent to be
  necessary and proper to implement the provisions hereof. In furtherance of the rights and powers
  of the Disbursing Agent, the Disbursing Agent shall have no duty or obligation to make


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  distributions to any Holder of an Allowed Claim unless and until such Holder executes and
  delivers, in a form acceptable to the Disbursing Agent, any documents applicable to such
  distributions.

                  4.     Delivery of Distributions. Subject to Bankruptcy Rule 9010, all
  distributions to any Holder of an Allowed Claim or Allowed Administrative Expense Claim shall
  be made at the address of such Holder as set forth on the Schedules filed with the Bankruptcy
  Court or on the books and records of a Debtor or its agent, as applicable, unless a Debtor or Post-
  Confirmation Debtor has been notified in writing of a change of address by the filing of a proof of
  Claim by such Holder that contains an address for such Holder different than the address of such
  Holder as set forth on the Schedules.

                  5.      Record Date for Distributions. As of the close of business on the
  Effective Date, the registers for Claims and Interests shall be closed, and there shall be no further
  changes in the Holder of record of any Claim. The Post-Confirmation Debtor, the Disbursing
  Agent, and the Litigation Trustee or Plan Administrator, as applicable, shall have no obligation to
  recognize any transfer of Claim or Interest occurring after the Effective Date, and shall instead be
  authorized and entitled to recognize and deal for all purposes under the Plan only those Holders of
  record on the registers of Claims and/or Interests, as of the close of business on the Effective Date
  for distributions under the Plan.

                  6.     Reserve for Plan Expenses. Prior to making any distributions, the
  Litigation Trustee or Plan Administrator, as applicable, shall set aside, deduct, and reserve an
  amount of Cash equal to the estimated amount of Plan Expenses in the Plan Expense Reserve
  Fund. Any Cash in such Plan Expense Reserve Fund that the Litigation Trustee or Plan
  Administrator, as applicable, deems to be excess prior to the closing of the Chapter 11 Cases shall
  be distributed to Holders of Allowed Claims and Interests pursuant to Article VIII of the Plan.

                  7.       Objections to Claims. Subject to the express provisions of the Plan, the
  Litigation Trustee shall have the exclusive authority to file, settle, compromise, withdraw or
  litigate any objections to Claims. Objections to Claims shall be filed with the Bankruptcy Court
  and served upon affected Creditors no later than one hundred eighty (180) days after the Effective
  Date, provided, however, that this deadline may be extended by the Bankruptcy Court upon motion
  of the Litigation Trustee. Notwithstanding the foregoing, in the event that a party filing any Claim
  after the applicable Bar Date shall obtain the written consent of the Litigation Trustee to file such
  Claim late or obtains an order of the Bankruptcy Court upon notice to the Litigation Trustee that
  permits the late filing of the Claim, then the Litigation Trustee shall have one hundred eighty (180)
  days from the date of such written consent or order to object to such Claim, which deadline may
  be extended by the Bankruptcy Court upon motion of the Litigation Trustee. Subject to
  Bankruptcy Court approval, objections to Claims may be litigated to judgment, settled, or
  withdrawn by the Litigation Trustee.

                 8.    Distributions on Disputed Claims. Distributions with respect to and on
  account of Disputed Claims will be made as soon as practicable after an order, judgment, decree
  or settlement agreement with respect to such Claim becomes a Final Order rendering such Claim
  an Allowed Claim, provided that (a) the applicable Creditor shall not receive interest on its
  Allowed Claim, despite anything contained herein to the contrary, from the date the objection is


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  filed and served to the date of allowance of such Claim, and (b) nothing shall require the Disbursing
  Agent to make a distribution other than in accordance with Section 8.1 of the Plan.

                  9.      Disputed Claim Reserves. On and after the Effective Date, the Litigation
  Trustee or Plan Administrator, as applicable, shall establish and maintain reserves for all Disputed
  Claims. For purposes of establishing a reserve, Cash will be set aside equal to the amount that
  would have been distributed to the Holders of Disputed Claims in such Class had their Disputed
  Claims been deemed Allowed Claims on the Effective Date or such other amount as may be
  approved by the Bankruptcy Court upon motion of the Litigation Trustee or Plan Administrator,
  as applicable. If, when, and to the extent any such Disputed Claim becomes an Allowed Claim by
  Final Order or by settlement by the Litigation Trustee or Plan Administrator, as applicable, the
  relevant portion of the Cash held in reserve therefor shall be distributed by the Disbursing Agent
  to the Creditor. The balance of such Cash, if any, remaining after all Disputed Claims have been
  resolved, shall be distributed Pro Rata to all Holders of Allowed Claims in accordance with Article
  VIII of the Plan. No payments or distributions shall be made with respect to a Claim that is a
  Disputed Claim pending the resolution of the dispute by settlement or Final Order.

                  10.     Unclaimed Property. Within forty-five (45) days after any distribution,
  the Disbursing Agent shall file with the Bankruptcy Court and serve upon all parties requesting
  notice a report of undeliverable distributions. If any distribution remains unclaimed for a period
  of sixty (60) days after it has been delivered (or attempted to be delivered) in accordance with the
  Plan to the Holder entitled thereto, or if such distribution is returned to the Disbursing Agent by
  the United States Postal Service marked as undeliverable, such unclaimed property shall be
  forfeited by such Holder absent further order of the Bankruptcy Court. Furthermore, all right, title
  and interest in and to the unclaimed property shall be held in reserve by the Post-Confirmation
  Debtor to be distributed to other Creditors in accordance with the Plan. Any distribution that
  remains unclaimed for a period of sixty (60) days after the Disbursing Agent making the final
  distribution under the Plan shall, after satisfaction of any accrued but unpaid Plan Expenses, be
  donated to the American Bankruptcy Institute Endowment Fund, a not-for-profit, non-religious
  organization dedicated to, among other things, promoting research and scholarship in the
  area of insolvency.

                 11.     Withholding Taxes. Any federal, state, or local withholding taxes or other
  amounts required to be withheld under applicable law shall be deducted from distributions
  hereunder. All Persons holding Claims shall be required to provide any information necessary to
  effect the withholding of such taxes. Allowed Claims of Holders otherwise entitled to receive a
  distribution under the Plan but who fail to provide a complete Internal Revenue Service W-9 form
  within thirty (30) days after request is made by the Disbursing Agent shall be entitled to no
  distribution without further order of the Bankruptcy Court; provided, however, that where any
  such Holder would be entitled to receive a distribution of $10,000 or more, the Disbursing Agent,
  Litigation Trustee or Plan Administrator, as applicable, shall seek an order of the Bankruptcy Court
  expunging the Claim.

                  12.     Fractional Cents. Any other provision of the Plan to the contrary
  notwithstanding, no payment of fractions of cents will be made. Whenever any payment of a
  fraction of a cent would otherwise be called for, the actual payment shall reflect a rounding down
  of such fraction to the nearest whole cent.


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                  13.     Payments of Less than Twenty-Five Dollars. If a Cash payment
  otherwise provided for by the Plan with respect to an Allowed Claim or Interest would be less than
  twenty-five ($25.00) dollars (whether in the aggregate or on any payment date provided in the
  Plan), notwithstanding any contrary provision of the Plan, the Disbursing Agent shall not be
  required to make such payment and such funds shall be otherwise distributed to Holders of
  Allowed Claims in accordance with Article VIII of the Plan. The Disbursing Agent, Litigation
  Trustee or Plan Administrator, as applicable, may decide to contribute undistributed funds to the
  American Bankruptcy Institute Endowment Fund, in accordance with Section 8.10 of the Plan if
  in the reasonable judgment of the Disbursing Agent, Litigation Trustee or Plan Administrator, as
  applicable, the cost of calculating and making the final distribution of the remaining distributable
  funds is excessive in relation to the benefits to Creditors who would otherwise be entitled to such
  funds, and the Claims of any such Holders shall be entitled to no further distribution without further
  order of the Bankruptcy Court.

                  14.   Means of Cash Payment. Cash payments made pursuant to the Plan shall
  be by check, wire or ACH transfer in U.S. funds or by other means agreed to by the payor and
  payee or, absent agreement, such commercially reasonable manner as the payor determines in its
  sole discretion.

                 15.     Setoffs. Except as otherwise provided for herein, the Litigation Trustee or
  Plan Administrator, as applicable, may, but shall not be required to, set off against any Claim and
  the payments to be made pursuant to the Plan in respect of such Claim, claims of any nature
  whatsoever that a Debtor or its Estate may have against the Creditor, but neither the failure to do
  so nor the allowance of a Claim hereunder shall constitute a waiver or release by a Debtor or its
  Estate of any claim it may have against the Creditor.

         J.      Unexpired Leases and Executory Contracts

                 1.     General Treatment of Executory Contracts and Unexpired Leases.
  Pursuant to Section 9.1 of the Plan, any and all pre-petition leases or executory contracts not
  previously rejected by a Debtor, unless (i) specifically assumed pursuant to order(s) of the
  Bankruptcy Court prior to the Confirmation Date; or (ii) is the subject of a motion to assume or
  assume and assign pending on the Confirmation Date; or (iii) is expressly identified on the
  Assumption Schedule, shall be deemed rejected by such Debtor on the Confirmation Date;
  provided, however, that nothing in Article IX of the Plan shall cause the rejection, breach, or
  termination of any contract of insurance benefiting a Debtor or its Estate.

                 2.     Rejection Damages Claims. Pursuant to Section 9.2 of the Plan, all proofs
  of claim with respect to claims arising from the rejection of executory contracts or leases shall,
  unless another order of the Bankruptcy Court provides for an earlier date, be filed with the
  Bankruptcy Court within thirty (30) days after the mailing of notice of entry of the Confirmation
  Order.

         K.      Conditions Precedent to the Effectiveness of the Plan.

                   1.      Financing Condition. Depending on whether the Financing Condition is
  satisfied, the Plan will be consummated as either a Liquidation or a Restructuring. If the Financing



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  Condition is satisfied or waived, the Plan will be consummated as a Restructuring. If the Financing
  Condition is not timely satisfied or waived, the Plan will be consummated as a Liquidation.

                  2.     Conditions to Consummating a Liquidation. The Plan will be a plan of
  liquidation, and the Debtors will consummate the Liquidation in accordance with Article VII and
  the other applicable provisions of the Plan, upon the satisfaction (or waiver, as set forth below) of
  each of the following conditions has been satisfied any one or more of which conditions may occur
  contemporaneously with the occurrence of the Effective Date:

                 (a)     the Bankruptcy Court shall have entered the Confirmation Order;

                 (b)     the Confirmation Order shall have become a Final Order; and

                (c)    each of the Plan Supplement documents shall have been executed in
         accordance with its terms.

                  3.     Additional Condition to Consummating a Restructuring. The Plan will
  be a plan of reorganization, and the Debtors will consummate the Restructuring in accordance with
  Article VI and the other applicable provisions of the Plan, upon the satisfaction (or waiver, as set
  forth below) of each of the conditions precedent enumerated in Section 10.2 of the Plan plus the
  following condition (the “Financing Condition”), which may occur contemporaneously with the
  occurrence of the Effective Date:

                (a)     New Secured Financing, if needed, shall have been fully consummated and
         funded before the expiration of forty-five (45) days after the Confirmation Date.

  The Committee may waive the Financing Condition upon a determination that New Secured
  Financing is not necessary to either to consummate the Restructuring or otherwise ensure the
  feasibility of the Plan. If the Financing Condition is not satisfied or waived on or prior to the
  expiration of forty-five (45) days after the Confirmation Date, then the Debtors shall consummate
  the Liquidation if all other conditions enumerated in Section 10.2 of the Plan are timely satisfied
  or waived.

                 4.      Waiver of Conditions. The Committee, in its sole discretion, may at any
  time, without notice or authorization of the Bankruptcy Court, waive the condition set forth in
  Sections 10.2(b) of the Plan. The failure of the Committee to satisfy or waive such condition may
  be asserted by the Committee regardless of the circumstances giving rise to the failure of such
  condition to be satisfied (including any action or inaction by the Committee). The Committee
  reserves the right to assert that any appeal from the Confirmation Order shall be moot after
  consummation of the Plan.

                  5.     Effect of Failure of Condition. In the event that the condition specified
  in Section 10.2(b) of the Plan has not occurred or been waived on or before forty-five (45) days
  after the Confirmation Date, the Confirmation Order may be vacated upon order of the Bankruptcy
  Court after motion made the Committee or any party in interest.

          L.      Cramdown. To the extent any Impaired Class of Claims or Interest Holders
  entitled to vote on the Plan votes to reject the Plan, the Committee and Trustee reserve the right to


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  request confirmation of the Plan under Section 1129(b) of the Bankruptcy Code with respect to
  such Class.

         M.      Effect of Confirmation

                  1.      Exculpation. Except as otherwise expressly provided by the Plan or the
  Confirmation Order or other Final Order of the Bankruptcy Court, on the Effective Date, the
  Exculpated Parties and each of their respective agents, representatives, successors and assigns,
  shall be deemed released is released and exculpated from any claims, obligations, rights, causes
  of action and liabilities for any act or omission in connection with, or arising out of, the Chapter
  11 Cases, including, without limiting the generality of the foregoing, all sales of assets, the
  Disclosure Statement, the formulation, dissemination and pursuit of approval of the Disclosure
  Statement, the formulation, dissemination and pursuit of confirmation of the Plan, the
  consummation of the Plan or the administration of the Plan or the property to be distributed under
  the Plan, except for acts or omissions that constitute willful misconduct, gross negligence or fraud,
  and all such Persons, in all respects, shall be entitled to rely upon the advice of counsel with
  respect to their duties and responsibilities under the Plan and under the Bankruptcy Code.

                  2.      Voluntary Releases by the Releasing Parties. Except as otherwise
  specifically provided in the Plan, for good and valuable consideration, including the service of the
  Released Parties to facilitate the reorganization of the Debtors, the implementation of the
  restructuring contemplated by the Plan, and the compromises contained herein, on and after the
  Effective Date, to the fullest extent permitted by applicable law, the Releasing Parties (regardless
  of whether a Releasing Party is a Released Party) will be deemed to conclusively, absolutely,
  unconditionally, irrevocably, and forever release, waive, and discharge the Released Parties of
  any and all claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
  whatsoever, whether known or unknown, foreseen or unforeseen, liquidated or unliquidated,
  contingent or fixed, existing or hereafter arising, in law, at equity or otherwise, whether for
  indemnification, tort, contract, violations of federal or state securities laws, or otherwise, based
  on or relating to, or in any manner arising from, in whole or in part, the Debtors, the Estates, the
  conduct of the business of the Debtors, the Chapter 11 Cases, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  restructuring of Claims and Interests before or during the Chapter 11 Cases, the negotiation,
  formulation, or preparation of the Plan, the Plan Supplement, the Disclosure Statement, or, in
  each case, related agreements, instruments, or other documents, any action or omission as an
  officer, member, agent, representative, fiduciary, controlling person, affiliate, or responsible
  party, or upon any other act or omission, transaction, agreement, event or other occurrence taking
  place on or before the Effective Date, other than claims or liabilities arising out of or relating to
  any act or omission of a Released Party to the extent such act or omission is determined by a Final
  Order to have constituted willful misconduct, gross negligence, fraud, or a criminal act. Nothing
  in this provision shall be construed or otherwise operate to release any claim or Cause of Action
  that may be held by the Debtors, the Bankruptcy Estates, or the Reorganized Debtor.

  Each of the Releasing Parties will be deemed to have granted the releases set forth in this section
  notwithstanding that such Releasing Party may hereafter discover facts in addition to, or different
  from, those which it now knows or believes to be true, and without regard to the subsequent
  discovery or existence of such different or additional facts, and such Releasing Party expressly


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  waives any and all rights that they may have under any statute or common law principle that would
  limit the effect of such releases to those claims or causes of action actually known or suspected to
  exist at the time of execution of such release.

                  3.       Injunction. Except as otherwise expressly provided in the Plan, on and
  after the Confirmation Date, all Entities who have held, hold or may hold Claims against a Debtor
  or Interests in a Debtor are permanently enjoined from and after the Confirmation Date from: (a)
  commencing, conducting or continuing in any manner, directly or indirectly, any suit, action or
  other proceeding of any kind (including, without limitation, any proceeding in a judicial, arbitral,
  administrative or other forum) against or affecting a Debtor’s Estate, the Post-Confirmation
  Debtor, or any of the Released Parties, any of their property, or any direct or indirect transferee
  of any property of, or direct or indirect successor in interest to, any of the foregoing Entities,
  including without limitation the Litigation Trustee and Plan Administrator, or any property of any
  such transferee or successor; (b) enforcing, levying, attaching (including, without limitation, any
  pre-judgment attachment), collecting or otherwise recovering by any manner or means whether
  directly or indirectly, of any judgment, award, decree or order against a Debtor’s Estate, the Post-
  Confirmation Debtor, or any of the Released Parties, any of their property, or any direct or
  indirect transferee of any property of, or direct or indirect successor in interest to any of the
  foregoing Entities, including without limitation the Litigation Trustee and Plan Administrator; (c)
  creating, perfecting or otherwise enforcing in any manner, directly or indirectly, any encumbrance
  of any kind against a Debtor’s Estate, the Post-Confirmation Debtor, or any of the Released
  Parties, any of their property, or any direct or indirect transferee of any property of, or direct or
  indirect successor in interest to any of the foregoing Entities, including without limitation the
  Litigation and Plan Administrator; (d) asserting any right of setoff, of any kind, directly or
  indirectly, against any obligation due to a Debtor’s Estate, the Post-Confirmation Debtor, or any
  of the Released Parties, any of their property, or any direct or indirect transferee of any property
  of, or successor in interest to, any of the foregoing Entities, including without limitation the
  Litigation Trustee and Plan Administrator; and (e) taking any actions in any place and in any
  manner whatsoever that do not conform to or comply with the provisions of the Plan. Unless
  otherwise provided in the Confirmation Order, all injunctions or stays arising under or entered
  during the Chapter 11 Cases under Sections 105 or 362 of the Bankruptcy Code, or otherwise,
  that are in existence on the Confirmation Date shall remain in full force and effect until the
  Effective Date; provided, however, that no such injunction or stay shall preclude enforcement of
  any interested party’s rights under the Plan and the related documents.

          N.      Retention of Jurisdiction. Pursuant to Article XI of the Plan, following the
  Confirmation Date and until such time as all payments and distributions required to be made and
  all other obligations required to be performed under the Plan have been made and performed by
  the Post-Confirmation Debtor, Litigation Trustee or Plan Administrator, as applicable, the
  Bankruptcy Court shall retain jurisdiction as is legally permissible, including, without limitation,
  for the following purposes:

                 1.     Claims. To determine the allowability, classification, or priority of Claims
  against a Debtor upon objection by the Litigation Trustee.

                2.    Injunctions. To issue injunctions or take such other actions or make such
  other orders as may be necessary or appropriate to restrain interference with the Plan or its


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  execution or implementation by any Person, to construe and to take any other action to enforce
  and execute the Plan, the Confirmation Order, or any other order of the Bankruptcy Court, to issue
  such orders as may be necessary for the implementation, execution, performance, and
  consummation of the Plan and all matters referred to herein, and to determine all matters that may
  be pending before the Bankruptcy Court in the Chapter 11 Cases on or before the Effective Date
  with respect to any Entity.

                 3.      Fee Claims. To determine any and all applications for allowance of
  compensation and expense reimbursement of Professionals for periods before or after the Effective
  Date, as provided for in the Plan.

                  4.     Dispute Resolution. To resolve any dispute arising under or related to the
  implementation, execution, consummation or interpretation of the Plan and the making of
  distributions thereunder.

                 5.    Leases and Executory Contracts. To determine any and all motions for
  the rejection, assumption, or assignment of executory contracts or unexpired leases, and to
  determine the allowance of any Claims resulting from the rejection of executory contracts and
  unexpired leases.

                6.       Actions. To determine all applications, motions, adversary proceedings,
  contested matters, actions, and any other litigated matters instituted prior to the closing of the
  Chapter 11 Cases, including any remands.

                7.       Causes of Action. To determine any and all “Causes of Action” as defined
  under Section 1.14 of the Plan.

                 8.     Taxes. To hear and determine matters concerning state, local, and federal
  taxes in accordance with Bankruptcy Code §§ 346, 505, and 1146.

                 9.     General Matters. To determine such other matters, and for such other
  purposes, as may be provided in the Confirmation Order or as may be authorized under provisions
  of the Bankruptcy Code, including but not limited to in connection with the sale or liquidation of
  Assets by the Post-Confirmation Debtor.

                 10.    Plan Modification. To modify the Plan under Section 1127 of the
  Bankruptcy Code, remedy any defect, cure any omission, or reconcile any inconsistency in the
  Plan or the Confirmation Order so as to carry out its intent and purposes.

                  11.   Aid Consummation. To issue such orders in aid of consummation of the
  Plan and the Confirmation Order notwithstanding any otherwise applicable non-bankruptcy law,
  with respect to any Entity, to the full extent authorized by the Bankruptcy Code.

                 12.    Implementation of Confirmation Order. To enter and implement such
  orders as may be appropriate in the event the Confirmation Order is for any reason stayed, revoked,
  modified, or vacated.

                 13.    Final Decree. To enter a Final Decree closing the Chapter 11 Cases.


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  VII.   LIQUIDATION AS AN ALTERNATIVE TO THE PLAN

          Under the Bankruptcy Code, the Plan may not be confirmed by the Bankruptcy Court
  unless (a) all creditors in an impaired class of Claims have accepted the Plan, or (b) the Plan is in
  the “best interests” of Creditors. The Plan will be found to be in the “best interests” of Creditors if
  Creditors will receive a distribution under the Plan as of the Effective Date which is not less than
  the distribution a Creditor would receive if the Debtors are liquidated in a Chapter 7 case under
  the Bankruptcy Code.

          The Plan provides that Class 2 and Class 3 are impaired and entitled to vote to either accept
  or reject the Plan.

          The starting point in determining whether the Plan would meet the “best interests” test is a
  determination of the amount of proceeds that would be generated from a liquidation of the Debtors’
  Assets in a Chapter 7 liquidation. It is assumed that in a Chapter 7 liquidation of the Debtors, the
  Debtors’ Assets would be sold in a distressed sale. Further, it is assumed that under Chapter 7 no
  further effort would be expended by the Chapter 7 trustee to improve the quality and marketability
  of the Debtors’ Assets. As a result of these factors, the amount of proceeds that would be realized
  by a Chapter 7 trustee from the Debtors’ Assets would likely be less in Chapter 7 than would be
  the case if the Post-Confirmation Debtor, Litigation Trustee or Plan Administrator, as applicable,
  implemented the provisions of the Plan through a Restructuring or a going concern Liquidation of
  the Debtors’ Assets.

          In addition, distributions in Chapter 7 cases will be further reduced by the administrative
  costs of a Chapter 7 case including the Chapter 7 trustee’s compensation and the fees and expenses
  of professionals retained by a Chapter 7 trustee. Moreover, the potential Chapter 7 liquidation
  distribution in respect of each class would be reduced by costs imposed by the delay caused by
  conversion of the Chapter 11 cases to Chapter 7 cases.

         A Liquidation Analysis incorporating the assumptions discussed above is attached hereto
  as Exhibit “B”.

          Based on the assumptions discussed above and the attached Liquidation Analysis, the
  Committee and Trustee believe that Creditors will receive a recovery under the Plan which is at
  least equal in value to the recovery Creditors would receive in a liquidation of the Debtors in a
  Chapter 7 case and, therefore, the Plan satisfies the “best interests” test under the Bankruptcy Code.

  VIII. PERFORMANCE OF THE PLAN AND RISK FACTORS

       PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF
  CLAIMS THAT ARE IMPAIRED SHOULD READ AND CAREFULLY CONSIDER THE
  FACTORS SET FORTH HEREIN, AS WELL AS ALL OTHER INFORMATION SET
  FORTH OR OTHERWISE REFERENCED IN THIS DISCLOSURE STATEMENT.

       THESE RISK FACTORS SHOULD NOT BE REGARDED AS CONSTITUTING
  THE ONLY RISKS PRESENT IN CONNECTION WITH THE DEBTORS’ BUSINESSES
  OR THE PLAN AND ITS IMPLEMENTATION.



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  The following provides a summary of various important considerations and risk factors associated
  with the Plan; however, it is not exhaustive. In considering whether to vote to accept or reject the
  Plan, Holders of Claims that are entitled to vote should read and carefully consider the factors set
  forth below, as well as all other information set forth or otherwise referenced or incorporated by
  reference in this Disclosure Statement.

          A.      The Committee and Trustee May Not Be Able to Satisfy the Voting
  Requirements for Confirmation of the Plan. If votes are received in number and amount
  sufficient to enable the Bankruptcy Court to confirm the Plan, the Committee and Trustee may
  seek, as promptly as practicable thereafter, Confirmation. If the Plan does not receive the required
  support from at least one impaired Class, the Committee and Trustee may not be able to confirm
  the Plan.

          B.     The Committee and Trustee May Not Be Able to Secure Confirmation of the
  Plan. Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
  chapter 11 plan, and requires, among other things, a finding by the bankruptcy court that: (a) such
  plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non-accepting
  classes; (b) such plan is feasible; and (c) the value of distributions to non-accepting holders of
  claims and interests within a particular class under such plan will not be less than the value of
  distributions such holders would receive if the debtors were liquidated under chapter 7 of the
  Bankruptcy Code.

          There can be no assurance that the requisite acceptances to confirm the Plan will be
  received. Even if the requisite acceptances are received, there can be no assurance that the
  Bankruptcy Court will confirm the Plan. A non-accepting Holder of an Allowed Claim might
  challenge either the adequacy of this Disclosure Statement or whether the balloting procedures and
  voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the
  Bankruptcy Court determined that the Disclosure Statement, the balloting procedures and voting
  results were appropriate, the Bankruptcy Court could still decline to confirm the Plan if it found
  that any of the statutory requirements for Confirmation had not been met, including the
  requirement that the terms of the Plan do not “unfairly discriminate” and are “fair and equitable”
  to any non-accepting Classes (if any). If the Plan is not confirmed, it is unclear what distributions,
  if any, Holders of Allowed Claims would receive with respect to their Allowed Claims.

          The Committee and Trustee, subject to the terms and conditions of the Plan, reserves the
  right to modify the terms and conditions of the Plan as necessary for Confirmation. Any such
  modifications could result in a less favorable treatment of any non-accepting Class (if any), as well
  as of any Classes junior to such non-accepting Class, than the treatment currently provided in the
  Plan. Such less favorable treatment could include a distribution of property to the Class affected
  by the modification of a lesser value than currently provided in the Plan or no distribution of
  property whatsoever under the Plan.

         C.       Risk of Non-Occurrence of Effective Date. Although the Committee and Trustee
  believe that the Effective Date would occur shortly after the Confirmation Date, there can be no
  assurance as to such timing.




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          D.     Approval of the Plan By the Singapore Court May Be Required. The
  Committee and Trustee believe there is a potential conflict between the United States and
  Singapore on which jurisdiction is the main proceeding, and a Plan confirmed by the Bankruptcy
  Court may not be enforceable in Singapore absent Singapore Court approval. Pursuant to
  Singapore insolvency and restructuring law, the Singapore Court may require separate meetings
  of shareholders and creditors and for which there are different required thresholds for approval in
  both numbers and amounts of claims than those required thresholds provided for in Section
  1126(c) of the Bankruptcy Code. There can be no assurance that Singapore Court approval of the
  Plan will be obtained, if such approval is sought and/or required.

          E.      Post-Effective Date Risks. Following the Effective Date, the risk factors bearing
  on the success or failure of the Plan, include, but are not limited to: (1) under a Restructuring, there
  can be no assurance that the Restructuring Transactions will be successfully implemented or of the
  Litigation Trustee’s ability to successfully perform his or her duties in accordance with the Plan
  and the Litigation Trust Agreement; (2) under a Liquidation, there can be no assurance of the
  Litigation Trustee’s and Plan Administrator’s ability, as applicable, to maximize the value of the
  Assets and locate purchasers for the Assets who are ready, willing, and able to pay reasonable
  value in exchange for the Assets; and (3) there can be no assurance that there will be sufficient Net
  Proceeds of the Causes of Actions generated to provide a recovery to Creditors. Notwithstanding
  these risk factors, the strategy proposed in the Plan is likely to yield greater value for Creditors
  than would an immediate liquidation in a Chapter 7 case.

  IX.     TAX CONSEQUENCES OF PLAN

          A.       Introduction. The following discussion summarizes certain of the important
  federal income tax consequences of the transaction described herein and in the Plan. This
  discussion is for informational purposes only and does not constitute tax advice. This summary is
  based upon the Internal Revenue Code and the Treasury Regulations promulgated thereunder,
  judicial authority and current administrative rulings and practice. Neither the impact on foreign
  holders of claims nor the tax consequences of any transaction under state or local law is discussed.
  Also, special tax considerations not discussed herein may be applicable to certain classes of
  taxpayers, such as financial institutions, broker-dealers, life insurance companies and tax-exempt
  organizations. Furthermore, due to the complexity of the transactions contemplated in the Plan,
  and the unsettled status of many of the tax issues involved, the tax consequences described below
  are subject to significant uncertainties. No opinion of counsel has been obtained and no ruling has
  been requested from the Internal Revenue Service on these or any other tax issues. There can be
  no assurance that the Internal Revenue Service will not challenge any or all of the tax consequences
  of the Plan, or that such a challenge, if asserted, would not be sustained. HOLDERS OF CLAIMS
  AGAINST THE DEBTORS ARE THEREFORE URGED TO CONSULT WITH THEIR
  TAX ADVISORS REGARDING THE FEDERAL, STATE, LOCAL AND FOREIGN TAX
  CONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN THE
  PLAN.

          B.      Tax Consequences to the Debtors. If a Restructuring is consummated and the
  Plan constituting a Plan of Reorganization become effective, the Debtors will receive a discharge
  of their debts under 11 U.S.C. § 1141(d)(3), and, as a result, will be deemed to have received a
  discharge for tax purposes. If a Restructuring is not consummated and the Plan constituting a Plan


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  of Liquidation becomes effective, the Debtors will not receive a discharge of their debts under 11
  U.S.C. § 1141(d)(3), and, will not be deemed to have received a discharge for tax purposes. Under
  either scenario, if an Allowed Claim is not paid in full, there may be cancellation of indebtedness
  income to the Debtors at such time.

         C.      Tax Consequences to Creditors.

                  1.     In General. The federal income tax consequences of the implementation
  of the Plan to a holder of a Claim will depend, among other things, on: (a) whether its Claim
  constitutes a debt or security for federal income tax purposes; (b) whether the Claimant receives
  consideration in more than one tax year; (c) whether the Claimant is a resident of the United States;
  (d) whether all the consideration by the Claimant is deemed to be received by that Claimant as part
  of an integrated transaction; (e) whether the Claimant reports income using the accrual or cash
  method of accounting; and (f) whether the holder has previously taken a bad debt deduction or
  worthless security deduction with respect to the Claim. The U.S. federal income tax consequences
  for non-U.S. holders of a Claim may be different than those for U.S. holders of a Claim.

                  2.      Gain or Loss on Exchange. Generally, a holder of an Allowed Claim will
  realize a gain or loss on the exchange under the Plan of his Allowed Claim for cash and other
  property in an amount equal to the difference between (i) the sum of the amount of any cash and
  the fair market value on the date of the exchange of any other property received by the holder
  (other than any consideration attributable to accrued but unpaid interest on the Allowed Claim),
  and (ii) the adjusted basis of the Allowed Claim exchanged therefor (other than basis attributable
  to accrued but unpaid interest previously included in the holder’s taxable income). Any gain
  recognized generally will be a capital gain if the Claim was a capital asset in the hands of an
  exchanging Claim holder, and such gain would be a long-term capital gain if the holder’s holding
  period for the debt or security surrendered exceeded one (1) year at the time of the exchange. Any
  loss recognized by a holder of an Allowed Claim will be a capital loss if the Claim constitutes a
  “security” for federal income tax purposes or is otherwise held as a capital asset. For this purpose,
  a “security” is a debt instrument with interest coupons or in registered form.

         D.      Information Reporting and Backup Withholding

                  Under the backup withholding rules of the Internal Revenue Code, holders of
  Claims may be subject to backup withholding with respect to payments made pursuant to the Plan
  unless such holder (i) is a corporation or comes within certain other exempt categories and, when
  required, demonstrates this fact, or (ii) provides a correct taxpayer identification number and
  certifies under penalties of perjury that the taxpayer identification number is correct and that the
  holder is not subject to backup withholding because of a failure to report all dividends and interest
  income. Any amount withheld under these rules will be credited against the holder’s federal
  income tax liability. Holders of Claims may be required to establish exemption from backup
  withholding or to make arrangements with respect to the payment of backup withholding.

  X.     CONFIRMATION OF THE PLAN

          The Bankruptcy Court will confirm the Plan only if all of the requirements of Section 1129
  of the Bankruptcy Code are met. Among the requirements for confirmation are that the Plan (i) is



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  accepted by all impaired classes of Claims entitled to vote or, if rejected by an impaired Class, that
  the Plan “does not discriminate unfairly” and is “fair and equitable” as to such class, and as to the
  impaired Classes of Claims that are deemed to reject the Plan, (ii) is feasible, and (iii) is in the
  “best interests” of the holders of Claims impaired under the Plan.

          A.      No Unfair Discrimination/Fair and Equitable Test

                 In the event that any impaired Class of Claims does not accept the Plan, the
  Bankruptcy Court may still confirm the Plan at the Committee’s and Trustee’s request if, as to
  each impaired Class of Claims which has not accepted the Plan, the Plan “does not discriminate
  unfairly” and is “fair and equitable”.

                  A Chapter 11 plan does not discriminate unfairly, within the meaning of the
  Bankruptcy Code, if the legal rights of a dissenting class are treated in a manner consistent with
  the treatment of other classes whose legal rights are substantially similar to those of the dissenting
  class and if no class of claims or equity interests receives more than it legally is entitled to receive
  for its claims or equity interests.

                  Under the Bankruptcy Code, “fair and equitable” has different meanings for
  secured and unsecured claims. With respect to a secured claim, “fair and equitable” means (i) the
  impaired secured creditor retains its liens to the extent of its allowed claim and receives deferred
  cash payments at least equal in value to the allowed amount of its claim with a present value as of
  the effective date of the plan at least equal in value to such creditor’s interest in a Debtor’s interest
  in the property securing its claim, (ii) if property subject to the lien of the impaired secured creditor
  is sold free and clear of that lien, the lien attaches to the proceeds of the sale, and such lien proceeds
  are treated in accordance with clause (i) or (ii) of this paragraph, or (iii) if the impaired secured
  creditor realizes the “indubitable equivalent” of its claim under the plan. With respect to an
  unsecured claim, “fair and equitable” means either (i) each impaired unsecured creditor receives
  or retains property of a value, as of the effective date of the Plan, equal to the amount of its allowed
  claim, or (ii) the holders of claims or interests that are junior to the claims or interests of the
  dissenting class will not receive or retain any property under the Plan.

                  Under the Plan, no Holder in a Class of Claims is to receive cash or other property
  in excess of the full amount of its Allowed Claim. Holders of Interests will receive no payment
  under the Plan, and their interests are to be cancelled. Accordingly, the Committee and Trustee
  believe that the Plan does not discriminate unfairly as to any impaired Class of Claims and is fair
  and equitable with respect to each such Class.

          B.      “Best Interests” Test

                   As discussed in Section VII above, the Bankruptcy Code provides that unless all
  holders of impaired Claims have accepted the Plan, the Plan will not be confirmed, regardless of
  whether or not anyone objects to Confirmation, unless the Bankruptcy Court finds that the Plan is
  in the “best interests” of all Classes of Claims which are impaired. The “best interests” test will be
  satisfied by a finding of the Bankruptcy Court that the Plan will provide such a holder that has not
  accepted the Plan with a recovery at least equal in value to the recovery such holder would receive
  if the Debtors were liquidated under Chapter 7 of the Bankruptcy Code.



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                 For the reasons set forth in Section VII above, and as shown in Exhibit “B”, it is
  believed that each impaired Class will receive under the Plan a recovery at least equal in value to
  the recovery such Class would receive pursuant to a liquidation of the Debtors under Chapter 7 of
  the Bankruptcy Code.

          C.      Feasibility

                  Section 1129(a)(11) of the Bankruptcy Code provides that a Chapter 11 plan may
  be confirmed only if the Bankruptcy Court finds that such plan is feasible. A feasible plan is one
  which will not lead to a need for further reorganization or liquidation of the Debtors. The
  Bankruptcy Court will find the Plan is feasible if it determines that the Debtors will be able to
  satisfy the conditions precedent to the Effective Date and otherwise have sufficient funds to meet
  its post-confirmation obligations to pay for the costs of administering and fully consummating the
  Plan. Subject to the Risk Factors set forth in Section VIII of this Disclosure Statement, the
  Committee and Trustee believe that the Plan satisfies the financial feasibility requirement imposed
  by the Bankruptcy Code.

  XI.     MISCELLANEOUS PROVISIONS

          A.     Modification. The Plan may be altered, amended or modified by the Committee
  and Trustee before the Confirmation Date as provided in Section 1127 of the Bankruptcy Code.
  The Post-Confirmation Debtor may, with the approval of the Bankruptcy Court and without notice
  to all Holders of Claims and Interests, insofar as it does not materially and adversely affect the
  interest of Holders of Claims, correct any defect, omission, or inconsistency in the Plan in such
  manner and to such extent as may be necessary to expedite consummation of the Plan. The Plan
  may be altered or amended after the Confirmation Date by the Post-Confirmation Debtor in a
  manner which, in the opinion of the Bankruptcy Court, materially and adversely affects Holders
  of Claims, provided that such alteration or modification is made after a hearing as provided in
  Section 1127 of the Bankruptcy Code.

          B.       Withdrawal. The Committee and Trustee reserve the right to revoke or withdraw
  the Plan prior to the Effective Date. If the Committee and Trustee revoke or withdraw the Plan,
  then the result shall be the same as if the Confirmation Order had not been entered and the Effective
  Date had not occurred.

          C.      Binding Effect. Subject to the occurrence of the Effective Date, on and after the
  Confirmation Date, the provisions of the Plan shall bind any Holder of a Claim against, or Interest
  in, a Debtor and such Holder’s respective successors and assigns, whether or not the Claim or
  Interest of such Holder is Impaired under the Plan, whether or not such Holder has accepted the
  Plan and whether or not such Holder is entitled to a distribution under the Plan.

          D.      Successors and Assigns. The rights, benefits and obligations of any Entity named
  or referred to in the Plan shall be binding on, and shall inure to the benefit of, the heirs, executors,
  administrators, successors and/or assigns of such Entities.

          E.     Governing Law. Except to the extent that the Bankruptcy Code is applicable, the
  rights and obligations arising under the Plan shall be governed by and construed and enforced in
  accordance with the laws of the State of Texas.


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          F.     United States Trustee Fees. All outstanding amounts due under 28 U.S.C. § 1930
  that have not been paid shall be paid by the Debtors on or before the Effective Date. Thereafter,
  the Litigation Trustee or Plan Administrator, as applicable, shall pay any statutory fees due
  pursuant to 28 U.S.C. § 1930(a)(6) and such fees shall be paid until entry of a final decree or an
  order converting or dismissing the Chapter 11 Cases.

         G.      Non-Voting Equity Securities. To the extent applicable, the Debtors shall comply
  with the provisions of Section 1123(a)(6) of the Bankruptcy Code.

           H.     Retiree Benefits. From and after the Effective Date, to the extent required by
  Section 1129(a)(13) of the Bankruptcy Code, the Post-Confirmation Debtor shall continue to pay
  all retiree benefits (as defined in Section 1114 of the Bankruptcy Code), if any, established or
  maintained by a Debtor prior to the Effective Date. The Committee and Trustee believe that there
  are no such benefits.

          I.       Section 1146 Exemption. Pursuant to Section 1146(a) of the Bankruptcy Code,
  the issuance, transfer, or exchange of any security under the Plan or the making or delivery of any
  instrument of transfer pursuant to, in implementation of, or as contemplated by, the Plan or the
  revesting, transfer or sale of any real or personal property of a Debtor pursuant to, in
  implementation of, or as contemplated by, the Plan shall not be taxed under any state or local law
  imposing a stamp tax, transfer tax, or similar tax or fee. Without limiting the foregoing, pursuant
  to Section 1146(a) of the Bankruptcy Code, the sale by the Post-Confirmation Debtor, Litigation
  Trustee or Plan Administrator, as applicable, of any real property, or recordation by the Post-
  Confirmation Debtor, Litigation Trustee or Plan Administrator, as applicable, of any deed of trust
  or mortgage (including any amendment to any deed of trust or mortgage), from and after the
  Effective Date of the Plan shall not be taxed under any state or local law imposing a stamp tax,
  transfer tax, or similar tax or fee.

          J.       Severability. If any term or provision of the Plan is held by the Bankruptcy Court
  prior to or at the time of Confirmation to be invalid, void, or unenforceable, the Bankruptcy Court
  shall have the power to alter and interpret such term or provision to make it valid or enforceable
  to the maximum extent practicable, consistent with the original purpose of the term or provision
  held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as
  so altered or interpreted. In the event of any such holding, alteration, or interpretation, the
  remainder of the terms and provisions of the Plan may, at the option of the Committee and Trustee
  remain in full force and effect and not be deemed affected. However, the Committee and Trustee
  reserve the right not to proceed to Confirmation or consummation of the Plan if any such ruling
  occurs. The Confirmation Order shall constitute a judicial determination and shall provide that
  each term and provision of the Plan, as it may have been altered or interpreted in accordance with
  the foregoing, is valid and enforceable pursuant to its terms.

         K.     Waiver of Stay. The Committee and Trustee will request as part of the
  Confirmation Order a waiver from the Bankruptcy Court of the fourteen day stay of Bankruptcy
  Rule 3020(e) and, to the extent applicable, a waiver of the fourteen day stay of Bankruptcy Rule
  6004(h).




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           L.      No Release by United States Government, Agencies, State or Local
  Authorities. Nothing in the Confirmation Order or the Plan shall effect a release of any claim by
  the United States Government or any of its agencies or any state and local authority whatsoever,
  including without limitation any claim arising under the Internal Revenue Code, the environmental
  laws or any criminal laws of the United States or any state and local authority against any party or
  person, nor shall anything in the Confirmation Order or the Plan enjoin the United States or any
  state or local authority from bringing any claim, suit, action, or other proceedings against any party
  or person for any liability of such persons whatever, including without limitation any claim, suit
  or action arising under the Internal Revenue Code, the environmental laws or any criminal laws of
  the United States or any state and local authority against such persons, nor shall anything in the
  Confirmation Order or the Plan exculpate any party or person from any liability to the United
  States Government or any of its agencies or any state and local authority whatsoever, including
  any liabilities arising under the Internal Revenue Code, the environmental laws or any criminal
  laws of the United States or any state and local authority against any party or person.

  XII.   CONCLUSION AND RECOMMENDATION

  THE COMMITTEE AND TRUSTEE SUBMIT THAT THE PLAN COMPLIES IN ALL
  RESPECTS WITH CHAPTER 11 OF THE BANKRUPTCY CODE AND THE COMMITTEE
  AND TRUSTEE RECOMMEND TO HOLDERS OF CLAIMS WHO ARE ENTITLED TO
  VOTE ON THE PLAN THAT THEY VOTE TO ACCEPT THE PLAN.



  Dated: June 3, 2020

                                                 Official Committee of Unsecured Creditors of
                                                 Rooftop Group International Pte. Ltd.


                                                 By:    /s/ Sian Mimmo
                                                          Name: Sian Mimmo
                                                          Title: Chair
                                                                 Official Committee of Unsecured
                                                                 Creditors of Rooftop Group
                                                                 International Pte. Ltd.

                                                 Chapter 11 Trustee, Rooftop Group USA, Inc., and
                                                 Rooftop Group Services (US) Inc.


                                                 By:     /s/ Daniel J. Sherman
                                                         Name: Daniel J. Sherman




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